           Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17        Page 1 of 60


                                                                        Page 7
                                                                        Invoice No. 761842
                                                                        January 28, 2013
                                                                        L0353-000007


12/26/12   DAL     E-mail from Solus (.1); e-mails with J. Heaney        0.70         $567.00
                   (.1); e-mails with B. Guiney (.3); review prior
                   letter to Solus (.2)
12/27/12   BPG     Review docket (.1); review e-mails re: motion         0.20         $128.00
                   to amend, follow-up C. Dent re: same (.1).
12/27/12   CWD E-mails re noteholder issues, TC B. Guiney re             0.40         $174.00
                 same, follow-up re same (.4).
12/27/12   DAL     TC J. Heaney (.2); draft e-mail to Solus (1.0).       1.20         $972.00
12/28/12   CWD Reviewing docket (.2); e-mails re holder                  0.30         $130.50
                correspondence (.1).
12/28/12   DAL Work on memo to holder (.5).                              0.50         $405.00
12/30/12   CWD E-mails re correspondence w/Debtors re POC                0.20          $87.00
                 motion, reviewing revised Order re same (.2).
12/31/12   CWD Reviewing docket (.1).                                    0.10          $43.50


                                                   Total Services       98.20       $65,111.00


            Daniel A Lowenthal           39.60 hours at $810.00 $32,076.00
            Brian P. Guiney              36.80 hours at   $640.00 $23,552.00
            Craig W. Dent                21.80 hours at   $435.00 $9,483.00


                   Filing Fees/Index Fees                                  167.00
                   Local Travel & Fares                                     13.65
                   Outside Professional Services                            86.01

                                                   Total Expenses                     $266.66

                                                   Total This Invoice               $65,377.66
             Case 09-10138-MFW              Doc 17958-3        Filed 02/24/17       Page 2 of 60




                   Patterson Belknap Webb & Tyler 1-P
          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                        Invoice No. 761842
400 Madison Avenue                                                             January 28, 2013
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                           December 31, 2012 In Connection With The Following:


12/3/12      BPG       Review docket (.1); follow-up re: in-person              0.30           $192.00
                       Committee meeting (.1); follow-up re: open
                       issues (.1).
12/3/12      CWD       Reviewing docket, reviewing Agenda for 12/5              0.20            $87.00
                       hearing, follow-up re same (.1); OC D. Attanasi
                       re POC motion (.1).
12/3/12      DAL       E-mails re Committee meeting (.2); revise                1.60        $1,296.00
                       motion and claim (1.0); review and send
                       invoice (.3); leave detailed message for J.
                       Bromley (.1).
12/4/12      BPG       TC D. Lowenthal re: motion and POC (.2);                 0.70           $448.00
                       review docket, review e-mails related to case
                       (.2); review revised motion and POC (.3).
12/4/12      CWD       Reviewing docket, follow-up re same                      0.50           $217.50
                       w/managing clerk's office, e-mails re same (.4);
                       e-mail from Committee re LTD settlement (.1).
12/4/12      DAL       Work on motion (.5); e-mails with E. Lamek               1.10           $891.00
                       (.2); leave detailed message for L. Schweitzer
                       and follow-up (.2); e-mails with J. Heaney S.
                       Miller and C. Hamilton (.1); leave message for
                       E. Lamek (.1).
           Case 09-10138-MFW          Doc 17958-3        Filed 02/24/17       Page 3 of 60


                                                                      Page 2
                                                                      Invoice No. 761842
                                                                      January 28, 2013
                                                                      L0353-000007


12/5/12   BPG Review e-mail from L. Beckerman, review                  4.00        $2,560.00
                documents related to same, follow-up re: same
                (1.4); attention to calendar/omnibus hearing
                dates (.2); follow-up re: e-mail to Debtors,
                consider same and consider strategy with C.
                Dent (for part) and D. Lowenthal (for part) (.8);
                follow-up D. Lowenthal re: same (.4); review
                POC and motion and follow-up re: same (.3);
                OC D. Lowenthal and C. Dent re: next steps
                (.5); consider reply and follow-up C. Dent re:
                same (.4).
12/5/12   CWD Monitoring 12/5 omnibus hearing, e-mails                 2.30        $1,000.50
               w/colleagues re same (.3); reviewing docket,
               follow-up re hearing dates w/managing clerk's
               office (.3); e-mails re motion, follow-up re
               same, meeting w/D. Lowenthal and B. Guiney
               re same (1.7).
12/5/12   DAL Draft e-mail to Debtors' counsel (.9); review            4.00        $3,240.00
                same with colleagues (.7); TC S. Miller (.1);
                review Committee update on LTD mediation
                (.5); work on claim issues (1.8).
12/6/12   BPG     OC D. Lowenthal and C. Dent re: claim (.3);          2.70        $1,728.00
                  prepare for and participate on weekly
                  Committee call, follow-up re: same (.7);
                  additional consideration of reply brief, follow-
                  up re: same (.6); OC D. Lowenthal and C. Dent
                  re: claim, strategy re: same (.4); TC B. Kahn re:
                  same, follow-up D. Lowenthal re: same (.5);
                  follow-up C. Dent re: same (.2).
12/6/12   CWD Reviewing docket (.1); follow-up re claim, TC            1.80         $783.00
               D. Lowenthal re same, multiple OCs w/same
               and B. Guiney re same (1.1); Committee call
               (.6).
12/6/12   DAL     Finalize motion (.7); Committee call (.6); e-        3.10        $2,511.00
                  mail Debtors' counsel (.3); TC Debtors' counsel
                  re case issues (.4); conf. B. Guiney and C. Dent
                  re case issues (.4); TC B. Guiney re call with
                  Akin (.3); TC E. Lamek re case issues (.4).
           Case 09-10138-MFW           Doc 17958-3      Filed 02/24/17       Page 4 of 60


                                                                     Page 3
                                                                     Invoice No. 761842
                                                                     January 28, 2013
                                                                     L0353-000007


12/7/12    BPG Consider motion to amend with D. Lowenthal             0.40          $256.00
                 (.1); review e-mail from J. Sturm (.1); attention
                 to filed and served pleadings (.2).
12/7/12    CWD Revising monthly billing detail, note to               1.00          $435.00
                accounting department re same (.5); reviewing
                docket (.2); OC D. Lowenthal re claim issues
                (.1); e-mails from Committee re conflict issue
                and deferred comp. settlement (.2).
1 2/7/12   DAL Work on fee statement (.1); review Committee           0.50          $405.00
                update re DaVinci, e-mails w/J. Heaney and
                Committee re same (.4).
12/10/12   BPG Consider motion re: POC, follow-up re: same           2.10         $1,344.00
                 (.3); consider Thursday Committee meeting,
                 follow-up re: same, prepare for same (including
                 TC with D. Lowenthal, for part) (.9); TC C.
                 Dent and D. Lowenthal re: same, review e-mail
                 from C. Hamilton re: same (.3); consider the
                 Support Agreement (with C. Dent, for part)
                 (.6).
12/10/12   CWD E-mails re monthly billing statement, reviewing       1.60           $696.00
                 same, revising same (.8); reviewing docket (.3);
                 e-mails re claim filing issues, OC D. Lowenthal
                 re same, OC B. Guiney re same (.5).
12/10/12   DAL Conf. C. Dent re motion (.1); work on motion          2.20         $1,782.00
                 issues with B. Guiney and C. Dent and
                 Delaware counsel (1.6); prepare for Committee
                 meeting (.5).
12/11/12   BPG     Review docket, review 9019 motion (.4);           2.10         $1,344.00
                   review mediation proposals and supporting
                   materials, follow-up re: same (.7); TC D.
                   Lowenthal re: open issues (.2); additional
                   follow-up re: same (.2); TC B. Kahn re:
                   Thursday Committee meeting, follow-up D.
                   Lowenthal re: same (.6).
12/11/12   CWD E-mails re monthly fee statement, revising            0.50           $217.50
                 same (.3); reviewing docket (.2).
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 5 of 60


                                                                      Page 4
                                                                      Invoice No. 761842
                                                                      January 28, 2013
                                                                      L0353-000007


12/11/12    DAL     Work on billing (.4); confer with B. Guiney re     2.10        $1,701.00
                    Committee meeting (.3); send fee statement to
                    LawDeb (.2); TC J. Borow, TC B. Guiney,
                    attempt TCs with J. Bromley and L. Schweitzer
                    (1.2).
12/1 2/12   BPG     Review e-mail and attachments re: cease trade      3.00        $1,920.00
                    order, follow-up re: same (.9); additional
                    follow-up re: same, including TC C. Dent (.3);
                    follow-up D. Lowenthal re: Committee
                    meeting, consider strategy re: motion to amend,
                    additional follow-up re: same (.4); review
                    Capstone presentation and follow-up (1.4).
12/12/12    CWD E-mail from Committee's Canadian counsel re            0.90         $391.50
                  NNL delisting, e-mails re same, reviewing
                  documents re same, TC B. Guiney re same (.5);
                  reviewing docket (.2); reviewing materials
                  circulated by Committee in advance of 12/13
                  meeting (.2).
12/12/12    DAL E-mails with LawDeb re status report (.1);             2.50        $2,025.00
                  review memo from Committee counsel re
                  Canadian cease trade order (2.0); TC J. Borow
                  (.2): prepare for Committee meeting with B.
                  Guiney (for part) (.3).
12/13/12    BPG     Finish reviewing materials for meeting,            6.80        $4,352.00
                    research re: OID and follow-up, prepare for
                    Committee meeting and follow-up D.
                    Lowenthal re: same (2.3); travel to, attend and
                    return from Committee meeting at Akin (3.6);
                    follow-up re: same, including OC with D.
                    Lowenthal and C. Dent, for part (.9).
12/13/12    CWD E-mails re Committee meeting and related               3.20        $1,392.00
                  matters, Committee call (for part) (2.2);
                  reviewing docket (.2); meeting w/D. Lowenthal
                  and B. Guiney re case issues (.8).
12/13/12    DAL E-mail J. Heaney (.2); review Committee                6.30        $5,103.00
                  presentations (.3); Committee meeting (4.8);
                  review meeting and mediation issues with B.
                  Guiney and C. Dent (.8); leave detailed
                  messages for J. Bromley and L. Schweitzer and
                  e-mail both re same (.2).
           Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17       Page 6 of 60


                                                                    Page 5
                                                                    Invoice No. 761842
                                                                    January 28, 2013
                                                                    L0353-000007


12/14/12   BPG   Follow-up D. Lowenthal re: motion (.2);             0.30         $192.00
                 review docket (.1).
12/14/12   CWD   E-mails re motion (.1); reviewing docket and        0.70         $304.50
                 Agenda for 12/18 omnibus hearing, follow-up
                 re same (.6).
12/14/12   DAL   Confer with B. Guiney re POC motion (.3).           0.30         $243.00
12/17/12   BPG   Review docket, review 9019 on deferred comp.        1.70        $1,088.00
                 settlement (1.0); follow-up D. Lowenthal re:
                 motion to amend (.1); TC D. Lowenthal and C.
                 Dent re: motion and next steps (.6).
12/17/12   CWD   Reviewing docket, e-mails w/B. Guiney re           0.70          $304.50
                 same (.2); TC D. Lowenthal and B. Guiney re
                 claims (.5).
12/17/12   DAL   TC J. Bromley re draft motion (.4), team call      1.00          $810.00
                 (.6).
12/18/12   BPG   Consider next steps, including OC with C.          1.70         $1,088.00
                 Dent, for part (.4); OC D. Lowenthal and C.
                 Dent re: motion (1.0); follow-up re: same (.1);
                 review update e-mail, follow-up re: same (.2).
12/18/12   CWD   Reviewing docket (.2); OC B. Guiney re claim       1.90          $826.50
                 motion (.4); OC D. Lowenthal and B. Guiney
                 re same (1.1); e-mails re same (.1); e-mail from
                 Committee re mediation (.1).
12/18/12   DAL   TC S. Miller re case issues (.4); confer with B.   2.00         $1,620.00
                 Guiney and C. Dent re same (1.2); TC S. Miller
                 re same (.4).
12/19/12   BPG   Multiple TCs and e-mails re: motion, review        4.00         $2,560.00
                 and revise same, gather exhibits related to same
                 (2.9); TC B. Kahn re: motion and follow-up re:
                 same (.3); additional follow-up re: same (.2);
                 follow-up C. Dent re: filing logistics (.1); TC
                 Akin team and follow-up re: same (.5).
12/19/12   CWD   E-mails re POC motion, TC B. Guiney re same,       1.60          $696.00
                 follow-up re same, leave message for C.
                 Hamilton re same, follow-up re same (.5); call
                 w/Committee counsel re POC motion, revising
                 same and draft amended POC, OC D.
                 Lowenthal re same (1.0); reviewing docket (.1).
            Case 09-10138-MFW          Doc 17958-3        Filed 02/24/17      Page 7 of 60


                                                                      Page 6
                                                                      Invoice No. 761842
                                                                      January 28, 2013
                                                                      L0353-000007


12/19/12   DAL E-mails with Committee counsel re mediation            6.40         $5,184.00
                 (.4); work on motion issues, including TC with
                 J. Bromley, TC with S. Miller, leave message
                 for J. Heaney, conf. with 13. Guiney, revise
                 motion, TC J. Heaney, TC Akin re same and
                 revisions to motion and claim (5.8); prepare for
                 mediation (.2).
12/20/12   BPG     Review revised motion and claim (.5); OC D.         1.70        $1,088.00
                   Lowenthal re: same and follow-up (.3); review
                   docket, review motion re: compensation (.4);
                   follow-up re: motion to amend (.3); follow-up
                   C. Dent re: client update (.2).
12/20/12   CWD E-mails re POC motion, follow-up re same,              2.70         $1,174.50
                 revising same, revising amended POC, OC B.
                 Guiney re same, TC D. Lowenthal re same (.9);
                 drafting client update, e-mails w/D. Lowenthal
                 re same, multiple TCs w/B. Guiney re same
                 (1.8).
12/20/12   DAL     Finalize claim motion (2.7).                       2.70         $2,187.00
12/21/12   BPG     Review docket, attention to files (.3); begin      2.50         $1,600.00
                   working on potential reply to objections (2.2).
12/21/12   CWD E-mails re client case update (.1); reviewing          0.20           $87.00
                 docket (.1).
12/21/12   DAL Complete and send client update (.4).                  0.40          $324.00
12/24/12   BPG Review e-mail from D. Lowenthal re: motion,            0.20          $128.00
                 follow-up re: same (.2).
12/24/12   CWD E-mails re noteholder communications re POC            0.20           $87.00
                 motion (.2).
12/24/12   DAL     TC with J. Schiffin and related follow-up (1.0):   1.00          $810.00
12/26/12   BPG     Work on reply motion (2.1); review docket (.1);    2.40         $1,536.00
                   OC C. Dent re: open issues (.1); e-mails re:
                   correspondence with holders (.1).
12/26/12   CWD OC B. Guiney re POC motion and related                 0.80          $348.00
                issues (.2); reviewing docket (.2); e-mails re
                correspondence with holders, follow-up re
                same (.4).
           Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17        Page 8 of 60


                                                                        Page 7
                                                                        Invoice No. 761842
                                                                        January 28, 2013
                                                                        L0353-000007


12/26/12   DAL E-mail from Solus (.1); e-mails with J. Heaney            0.70          $567.00
                 (.1); e-mails with B. Guiney (.3); review prior
                 letter to Solus (.2)
12/27/12   BPG     Review docket (.1); review e-mails re: motion         0.20          $128.00
                   to amend, follow-up C. Dent re: same (.1).
12/27/12   CWD E-mails re noteholder issues, TC B. Guiney re             0.40          $174.00
                 same, follow-up re same (.4).
12/27/12   DAL     TC J. Heaney (.2); draft e-mail to Solus (1.0).       1.20          $972.00
12/28/12   CWD Reviewing docket (.2); e-mails re holder                  0.30          $130.50
                correspondence (.1).
12/28/12   DAL Work on memo to holder (.5).                              0.50          $405.00
12/30/12   CWD E-mails re correspondence w/Debtors re POC                0.20           $87.00
                 motion, reviewing revised Order re same (.2).
12/31/12   CWD Reviewing docket (.1).                                    0.10           $43.50

                                                   Total Services       98.20       $65,111.00


            Daniel A Lowenthal           39.60 hours at $810.00 $32,076.00
            Brian P. Guiney              36.80 hours at $640.00 $23,552.00
            Craig W. Dent                21.80 hours at $435.00 $9,483.00


                   Filing Fees/Index Fees                                  167.00
                   Local Travel & Fares                                     13.65
                   Outside Professional Services                            86.01

                                                   Total Expenses                      $266.66

                                                   Total This Invoice               $65377,66
                Case 09-10138-MFW             Doc 17958-3         Filed 02/24/17       Page 9 of 60




                       Patterson Belknap Webb &Tyler U.P
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 764119
400 Madison Avenue                                                                February 21, 2013
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                               January 31, 2013 In Connection With The Following:


1 /2/13         BPG      Review revised proposed Order, consider same              2.90        $1,928.50
                         (.6); review docket, review retiree settlement
                         motion and follow-up (.4); OC D. Lowenthal
                         and C. Dent re: proposed Order, other open
                         items (1.1); revise same and follow-up (.4);
                         follow-up re: same (.2); TC D. Lowenthal re:
                         same and re: other open issues (.2).
1/2/13          CWD E-mails re meeting re POC motion, meeting                      1.60          $808.00
                      w/D. Lowenthal and B. Guiney re same,
                      follow-up re same (1.4); reviewing docket (.2).
1/2/13          DAL E-mail B. Guiney and C. Dent re motion (.1);                  3.70         $3,182.00
                      revise Order and send to J. Heaney (2.5); TC J.
                      Heaney re same (.1) send revisions to J.
                      Bromley (.5); follow-up with B. Guiney (.3);
                      review motion (.2).
1/3/13          BPG      Review docket, review 9019, follow-up re:                 2.40        $1,596.00
                         motion to amend (.3); review and analyze
                         materials from Solus, follow-up re: same (.8);
                         OC C. Dent and D. Lowenthal re: same (.8);
                         follow-up re: Canadian trading order (.2);
                         additional e-mails re: Solus materials (.1);
                         review certain fee applications (.2).
1 /3/13         CWD Reviewing docket (.3); OC B. Guiney re                         1.30          $656.50
                     noteholder correspondence, reviewing same
                     and related materials, meeting w/D. Lowenthal
                     and B. Guiney re same (.9); e-mails re same
                     (.1).




5954423v.2
             Case 09-10138-MFW           Doc 17958-3       Filed 02/24/17       Page 10 of 60


                                                                        Page 2
                                                                        Invoice No. 764119
                                                                        February 21, 2013
                                                                        L0353-000007


1/3/13       DAL     E-mail from holder (.2); e-mail revised Order       3.00        $2,580.00
                     to S. Miller and C. Hamilton (.2); review
                     holders' account statements (1.4); vmail from
                     claims trader (.1); TC J. Heaney and follow-up
                     with colleagues (.6); TC J. Borow re request for
                     information (.2); prepare for mediation (.3).
1/4/13       BPG Review DTC statement, TC C. Dent re: same,             3.00         $1,995.00
                   consider same with D. Dykhouse (.5); TC D.
                   Lowenthal re: same and follow-up (.5); review
                   materials related to Canadian trading order,
                   follow-up D. Lowenthal re: same, follow-up M.
                   Wunder re: same (.6); review docket, review
                   UST objection to incentive plan (.2); monitor
                   Solus call, for part, and follow-up re: same (.9);
                   TC M. Wunder re: OTC, follow-up re: same
                   (.3).
1/4/13       CWD Reviewing docket (.2); e-mails re holder issues,       0.80           $404.00
                  multiple TCs w/B Guiney re same, TC D.
                  Lowenthal re same, OC B. Guiney re same (.4);
                  e-mails from Committee counsel re Canadian
                  reporting issues, TC B. Guiney re same (.2).
1/4/13       DAL Review and analyze holder and DTC account              3.50         $3,010.00
                   records (.9); TC J. Heaney re same (.3); confer
                   with B. Guiney re same (.5); e-mail holder (.2);
                   e-mail with J. Bromley (.2); forward same to J.
                   Heaney (.1); e-mail J. Bromley (.1); e-mails
                   with J. Schiffrin (.3); TC J. Schiffrin re case
                   issues (.9).
1/4/13       DWD Conf. BPG re: holder account statements (.2).          0.20           $186.00
1/7/13       BPG     Follow-up D. Lowenthal re: revised Order (.1);     4.00         $2,660.00
                     prepare for and participate on call with J.
                     Bromley re: proposed Order; follow-up re:
                     same (.8); revise proposed Order; TC D.
                     Lowenthal re: same, OC C. Dent re: same (1.0);
                     OC D. Lowenthal and C. Dent re: mediation
                     preparation, follow-up re: same (1.8); TC B.
                     Kahn re: motion, follow-up re: same (.2);
                     review e-mail re: mediation and follow-up re:
                     same (.1).




5954423v.2
             Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17    Page 11 of 60


                                                                          Page 3
                                                                          Invoice No. 764119
                                                                          February 21, 2013
                                                                          L0353-000007


1/7/13       CWD Reviewing docket, reviewing Agenda for 1/9                3.40      $1,717.00
                  omnibus hearing follow-up re same, OC B.
                  Guiney re same (.5); meeting w/D. Lowenthal
                  and B. Guiney in preparation for mediation and
                  Committee meeting, follow-up re same (2.9).
1/7/13       DAL Review motion and draft Order (.3); TC                    4.00      $3,440.00
                   Bromley re draft Order and follow-up (.4);
                   revise Order and send to J. Bromley (1.0);
                   mediation preparation with B. Guiney and C.
                   Dent (for part) (2.0); TC J. Heaney re case
                   issues (.3).
1/8/13       BPG     Review and consider revised Order, input              4.40      $2,926.00
                     changes to same, TC D. Lowenthal re: same,
                     follow-up re: same (.6); review docket, review
                     fee application (.2); TC D. Lowenthal re: Order
                     (.1); follow-up C. Dent re: same (.1); follow-up
                     B. Kahn re: same (.1); review materials re
                     Canadian trading order in preparation for call
                     (.2); participate on call with J. Schiffrin and D.
                     Lowenthal, follow-up re: same (.4); review
                     draft Certification of Counsel (.1); OC D.
                     Lowenthal and C. Dent (for part) re: revised
                     Order, multiple e-mails and TCs re: same,
                     revise same and deliver to S. Miller for filing
                     (1.2); follow-up B. Kahn re: same (.1); work on
                     mediation outline per D. Lowenthal, follow-up
                     C. Dent re: same (1.1); attention to final
                     version of Order, Certification of Counsel and
                     follow-up re: same (.2).
1/8/13       CWD E-mails re POC motion and revisions to related            2.40      $1,212.00
                   form of Order, OC B. Guiney re same,
                   reviewing Certification of Counsel re same,
                   calls w/Debtors re same, OC D. Lowenthal and
                   B. Guiney re same (1.6); reviewing docket (.2);
                   drafting revised Canadian POC (.6).




5954423v.2
             Case 09-10138-MFW           Doc 17958-3       Filed 02/24/17    Page 12 of 60


                                                                         Page 4
                                                                         Invoice No. 764119
                                                                         February 21, 2013
                                                                         L0353-000007


1/8/13       DAL     E-mails with J. Bromley (.1); work on revised        3.90      $3,354.00
                     Order (.3); TC B. Guiney re same (.2); e-mails
                     with S. Miller re same (.3): TC J. Heaney re
                     same (.2); TC J. Schiffrin and B. Guiney re
                     case issues and related follow-up (.4); review
                     draft Certification and provide comments to S.
                     Miller (.3); leave message for J. Bromley (.1);
                     e-mail J. Bromley (.1); work on Order,
                     including TC's with L. Lipner and J. Heaney re
                     final draft of Order (1.5); follow-up re revised
                     Order (.3); e-mails with S. Miller re
                     adjournment of court hearing (.1).
1/9/13       BPG     Check docket (.1); review mediation materials       2.50       $1,662.50
                     from C. Dent, continue working on outline re:
                     same, OC same re: same (1.6); OC D.
                     Lowenthal re: entry of Order (.3); follow-up re:
                     same (.2); follow-up re: mediation outline (.3).
1/9/13       CWD E-mails re Order re amended POC (.2);                    3.20      $1,616.00
                   reviewing docket (.2); reviewing draft
                   mediation outline, revising same, follow-up re
                   same, reviewing documents re same, OC B.
                   Guiney re same (1.9); follow-up re amended
                   Canadian POC, revising same, TC B. Guiney re
                   same, e-mails re same w/J. Heaney (.9).
1/9/13       DAL Review revised hearing Agenda (.1); e-mail              0.80         $688.00
                   same to J. Heaney (.1); TC B. Guiney re
                   mediation (.3); prepare for mediation (.3).
1/10/13      BPG     Follow-up re: claims, re: mediation prep (.3);       1.30        $864.50
                     follow-up re: filing US claim and Canadian
                     claim (.2); follow-up re: mediation outline (.2);
                     review Akin outline and follow-up (.4); review
                     C. Dent revisions to outline and follow-up (.2).




5954423v.2
             Case 09-10138-MFW           Doc 17958-3       Filed 02/24/17       Page 13 of 60


                                                                        Page 5
                                                                        Invoice No. 764119
                                                                        February 21, 2013
                                                                        L0353-000007


1/10/13      CWD E-mails re Nortel POCs w/D. Lowenthal,                  3.70        $1,868.50
                   client, and Canadian counsel, follow-up re
                   same, drafting cover letter to claims agent re
                   same, OC B. Guiney re same (1.8); e-mail from
                   Committee re 1/11 meeting, reviewing attached
                   materials re mediation, TC D. Lowenthal re
                   same, follow-up re same (.7); revising
                   mediation outline, reviewing documents re
                   same, e-mails w/D. Lowenthal and B. Guiney
                   re same (1.2).
1/10/13      DAL Work on having proofs of claim filed (.2);             3.10         $2,666.00
                  prepare for mediation (2.5); e-mail proof of
                  claim to Debtors' counsel (.2); follow-up re
                  Canadian filing (.1).
1/11/13      BPG Review materials from Akin for meeting,                3.30         $2,194.50
                   prepare for same (.4); TC D. Lowenthal re:
                   open issues (.2); OC C. Dent re: open issues
                   (.2); travel to, attend and return from meeting at
                   Akin (1.5); follow-up C. Dent re: same (.1);
                   follow-up D. Lowenthal re: same (.6); follow-
                   up C. Dent re: same (.3).
1/11/13      CWD Reviewing materials circulated by Committee            4.10         $2,070.50
                   in advance of meeting, OC B. Guiney re same,
                  TC D. Lowenthal re same, e-mails w/same re
                  same, participating in same (2.6); reviewing
                  docket (.2); review and analysis of documents
                  in preparation for mediation, OC D. Lowenthal
                   re same (1.3).
1/11/13      DAL Prepare for and participate in Committee                5.00        $4,300.00
                   meeting at Akin (3.5); TC B. Guiney re
                   mediation (.7); TC J. Schiffrin (.1); memo to
                   files (.2); confer with C. Dent re mediation (.5).
1/13/13      DAL     Prepare for mediation (7.0).                        7.00        $6,020.00
1/14/13      BPG     Review e-mails and other materials re:              1.50          $997.50
                     mediation, follow-up re: same (.3); review
                     docket (.1); e-mails with D. Lowenthal re:
                     mediation (.1); research re: noteholder issues
                     (1.0).




5954423v.2
             Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17    Page 14 of 60


                                                                       Page 6
                                                                       Invoice No. 764119
                                                                       February 21, 2013
                                                                       L0353-000007       •


1/14/13      CWD E-mails from Committee and D. Lowenthal re             0.40        $202.00
                   mediation (.3); reviewing docket (.1).
1/14/13      DAL     Mediation in Toronto (9.8).                        9.80       $8,428.00
1/15/13      BPG     Follow-up re: mediation, review e-mails re:        0.20        $133.00
                     same (2).
1/15/13      CWD E-mails re Nortel mediation, reviewing                 0.50        $252.50
                   Capstone presentation re same (.5).
1/15/13      DAL     Mediation in Toronto (6.8).                        6.80       $5,848.00
1/16/13      BPG TC D. Lowenthal and C. Dent re: mediation              1.30        $864.50
                   and follow-up re: same (.6); review memo to
                   files and follow-up re: same (.2); review e-
                   mails re: mediation, OC C. Dent re: same,
                   follow-up re: same (.5).
1/16/13      CWD E-mails re Nortel mediation, call w/D.                 1.00        $505.00
                   Lowenthal and B. Guiney re same, OC B.
                   Guiney re same, follow-up re same (.8); e-mails
                   re noteholder communications, reviewing
                   memo re same (.2).
1/16/13      DAL Mediation in Toronto, e-mails and TCs with            12.50     $10,750.00
                  colleagues re same (12.50).
1/17/13      BPG     OC C. Dent re: allocation issues; consider same    1.20        $798.00
                     and follow-up re: same (.8); review e-mails re:
                     mediation, follow-up re: same (.2); additional
                     follow-up re: same (.2).
1/17/13      CWD E-mails re Nortel mediation, OC B. Guiney re           0.80        $404.00
                   same and allocation issues, follow-up re same
                   (.8).
1/17/13      DAL     Mediation in Toronto (6.5).                        6.50      $5,590.00
1/18/13      BPG     OC C. Dent re: mediation; review e-mails re:       0.60        $399.00
                     same; review docket (.4); follow-up re: same
                     (.2).
1/18/13      CWD E-mails re Nortel mediation, OC B. Guiney re           0.50        $252.50
                   same, follow-up re same and 1/23 omnibus
                   hearing (.5).
1/18/13      DAL Mediation follow-up and return to NY (7.0).            7.00      $6,020.00




5954423v.2
             Case 09-10138-MFW           Doc 17958-3       Filed 02/24/17   Page 15 of 60


                                                                        Page 7
                                                                        Invoice No. 764119
                                                                        February 21, 2013
                                                                        L0353-000007


1/21/13      BPG     Review cases re noteholders' issues, additional     2.00      $1,330.00
                     research re: same, follow-up re: same (1.9);
                     review e-mails re: mediation and follow-up
                     (.1).
1/21/13      CWD E-mails re mediation (.1).                              0.10         $50.50
1/22/13      BPG     Review materials for call, participate in call      4.10      $2,726.50
                     with J. Schiffrin and D. Lowenthal; follow-up
                     D. Lowenthal re: open issues and mediation,
                     participate on Committee call, follow-up D.
                     Lowenthal re: same (2.5); OC D. Lowenthal
                     and C. Dent re: mediation and next steps (.6);
                     review materials in advance of second
                     Committee call (.2); follow-up re: same (.1);
                     participate on call and follow-up re: same (.5);
                     follow-up e-mails re: same (.1); follow-up re:
                     hearing (.1).
1/22/13      CWD E-mails re Committee call, reviewing Capstone           3.30      $1,666.50
                   presentation re same, OC B. Guiney re same
                   (.6); meeting w/D. Lowenthal and B. Guiney re
                   case issues (.7); reviewing docket and amended
                   Agenda for 1/23 omnibus hearing, follow-up re
                   same, TC D. Lowenthal and B. Guiney re same
                   (.8); e-mails from Committee re supplemental
                   Committee call and mediation, reviewing
                   revised Capstone presentation and mediation
                   materials re same, participate in same, OC D.
                   Lowenthal and B. Guiney re same, follow-up re
                   same (1.2).
1/22/13      DAL Continued work on mediation issues (1.9);               7.10      $6,106.00
                   review Committee counsel e-mails (.4); review
                   updated FA analysis (1.0); review updated
                   mediator's proposal (1.0); TC S. Miller (.2); e-
                   mails with S. Miller (.2); e-mails with E.
                   Lamek (.2); participate in two Committee calls
                   and follow-up (2.0); work on billing (.2).
1/23/13      BPG     Review docket (.2); OC C. Dent re: hearing          1.70      $1,130.50
                     (.1); follow-up re: same (.1); review revised
                     proposal, participate on Committee call re:
                     same, follow-up re: same (1.3).




5954423v.2
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 16 of 60


                                                                      Page 8
                                                                      Invoice No. 764119
                                                                      February 21, 2013
                                                                      L0353-000007


1/23/13      CWD Monitoring 1/23 omnibus hearing, OC D.                2.70        $1,363.50
                  Lowenthal re same (1.0); reviewing docket,
                  follow-up re same w/local counsel (.2); e-mails
                  from Committee re mediation and Committee
                  call, reviewing term sheet re same, OC D.
                  Lowenthal and B. Guiney re same (1.5).
1/23/13      DAL Work on billing (.1); monitor Court hearing           2.10        $1,806.00
                  (1.1); work on mediation (.9).
1/24/13      BPG Review and consider Canadian proposal;                4.60        $3,059.00
                   follow-up re: same; work on memorandum to
                   files; review e-mail from F. Hodara re: status,
                   consider same with D. Lowenthal; review
                   additional e-mails re: same (2.1); review
                   allocation motion, cross-border protocol,
                   follow-up re: same (1.1); OC D. Lowenthal re:
                   settlement issues (.1); review e-mails re: same,
                   follow-up D. Lowenthal (.2); review mediator
                   final proposal, multiple TCs, e-mails and OCs
                   re: same (1.1).
1/24/13      CWD     E-mails from Committee re mediation,              3.10        $1,565.50
                     reviewing proposals re same, OC B. Guiney re
                     same, call w/same and D. Lowenthal re same
                     (1.0); reviewing docket (.2); reviewing
                     memorandum re Committee call (.2); reviewing
                     and revising monthly billing detail, TC D.
                     Lowenthal re same, e-mails w/same re same,
                     note to accounting department re same (.6); e-
                     mails re cross-border protocol, follow-up re
                     same (.3); e-mails re AMR decision, follow-up
                     re same, circulating documents re same,
                     reviewing same (.8).
1/24/13      DAL Review Committee counsel e-mails and                 4.60         $3,956.00
                   Canadian proposal (.7); review draft memo
                   (.4); e-mails with Committee counsel (.4);
                   review Protocol motion (1.0); detailed follow-
                   up on mediation developments (1.9); begin
                   review of decision on make-whole claims (.2).
1/25/13      BPG     Read decision re: make-whole, follow-up re:       1.20          $798.00
                     same (1.2).




5954423v.2
              Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17   Page 17 of 60


                                                                        Page 9
                                                                        Invoice No. 764119
                                                                        February 21, 2013
                                                                        L0353-000007


 1/25/13      CWD E-mails re make-whole decision, reviewing              1.10        $555.50
                    same (.5); e-mails re noteholder
                    communications, OC D. Lowenthal re same
                    (.1); reviewing and revising monthly fee
                    statement, e-mails w/accounting department re
                    same (.3); e-mail from Committee re press
                    releases, reviewing same (.1); reviewing docket
                    (.1).
 1/25/13      DAL     E-mails with holder's counsel (.1); TC with        0.70        $602.00
                      holder (.2); follow-up re same (.4).
 1/28/13      BPG     Review Indenture, follow-up re: same in           0.80         $532.00
                      connection with make-whole decision (.8).
 1/28/13      CWD Reviewing docket (.1); OC D. Lowenthal re              0.40        $202.00
                   monthly billing statement, revising same, e-
                   mails re same w/same and accounting
                   department (.3).
 1/28/13      DAL Work on fee statement and send to LawDeb               1.10        $946.00
                   (1.0); review objection re LTD (.1).
 1/29/13      BPG Review docket, review materials for                   1.00         $665.00
                    Committee call, follow-up C. Dent re: same
                    (1.0).
 1/29/13      CWD Committee call, OC D. Lowenthal re same,               1.60        $808.00
                   reviewing Capstone presentation re same (1.2);
                   reviewing docket (.3); OC B. Guiney re
                   Committee call and case issues (.1).
 1/29/13      DAL Committee call, OC C. Dent re same (1.3).              1.30      $1,118.00
• 1/30/13     BPG     Begin reviewing analysis re noteholders' issues   0.50         $332.50
                      (-5)-
 1/30/13      CWD OC D. Lowenthal re Capstone analysis, e-mails         0.60         $303.00
                   re same, reviewing same, TC D. Lowenthal re
                   same (.4); reviewing docket (.1); follow-up
                   with accounting department re December fee
                   statement (.1).
 1/30/13      DAL Review Capstone e-mail and spreadsheet (.7);          4.20       $3,612.00
                    memo re noteholders' issues (2.8); review
                    analysis re noteholders' issues (.7).




 5954423v.2
             Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17          Page 18 of 60


                                                                         Page 10
                                                                         Invoice No. 764119
                                                                         February 21, 2013
                                                                         L0353-000007


1/31/13      BPG   OC C. Dent re: analysis re noteholders' issues         1.40         $931.00
                   and follow-up (.2); follow-up re: same with D.
                   Lowenthal (.2); review docket, review Order
                   re: scheduling, follow-up re: same (.3); review
                   Canadian Order, follow-up D. Lowenthal re:
                   same (.5); additional follow-up re: same (.2).
1/31/13      CWD   Follow-up re 2/5 omnibus hearing (.1); OC B.           0.40         $202.00
                   Guiney re Capstone presentation (.1);
                   reviewing docket and filed Orders, e-mails
                   with colleagues re same, e-mail from
                   Committee re same (.2).
1/31/13      DAL   Work on audit letter response (1.8); review            2.80        $2,408.00
                   case Order and e-mails with J. Heaney, S.
                   Miller, and E. Lamek re same (1.0).

                                                   Total Services       183.60      $135,824.50


             David W. Dykhouse           0.20 hours at $930.00 $186.00
             Daniel A Lowenthal        100.50 hours at $860.00 $86,430.00
             Craig W. Dent              37.00 hours at $505.00 $18,685.00
             Brian P. Guiney            45.90 hours at $665.00 $30,523.50


                   Lexis Electronic Research                                 4.35
                   Messenger Service                                        17.00
                   Misc.                                                    30.00
                   Outside Professional Services                           151.12
                   Reproduction                                             22.25
                   Tv1. Transportation/Lodging                             252.00

                                                   Total Expenses                      $476.72


                                                   Total This Invoice              ,$136,301.22




5954423v.2
               Case 09-10138-MFW              Doc 17958-3        Filed 02/24/17       Page 19 of 60




                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 766174
400 Madison Avenue                                                                March 18, 2013
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                               February 28, 2013 In Connection With The Following:


2/1/13          BPG       Attention to case calendar (.1); review e-mail           1.30           $864.50
                          re: issues statement and follow-up D.
                          Lowenthal re: same (.3); review e-mail to files,
                          follow-up re: damages calculation (.3); TC D.
                          Lowenthal re: open issues (.4); review docket,
                          review motion for late claim (.2).
2/1/13          CWD Reviewing docket (.3); e-mails re noteholder                   0.50           $252.50
                     communications, TC D. Lowenthal re same
                     (.2).
2/1/13          DAL       Finalize audit letter response (1.3); confer with        4.90         $4,214.00
                          H. Raspe re same (.1); review Orders re
                          litigation schedule options (.6); TC J. Schiffrin
                          re court Orders and next steps (.3); memo to
                          file (.7); follow-up with B. Guiney (.7); review
                          motion re late filed claims (.4); TC with D.
                          Botter and follow-up (.8).
2/3/13          CWD E-mail from Committee re late-filed claims                     0.10            $50.50
                      (.1).
2/4/13          BPG       Follow-up re: US and Canadian Orders,                    2.50         $1,662.50
                          consider same and next steps (.4); review
                          summary of motion to file late claim, follow-up
                          re: same (.3); participate on Committee call and
                          follow-up re: same (.9); additional follow-up
                          re: same, leave voicemail for M. Riela re: same
                          (.2); follow-up C. Dent re: call (.1); TC M.
                          Riela re: submission to Court, follow-up re:
                          same (.3); follow-up D. Lowenthal re: call with
                          J. Schiffrin, review e-mail re: same (.3).




6001906v.3
              Case 09-10138-MFW          Doc 17958-3      Filed 02/24/17      Page 20 of 60


                                                                      Page 2
                                                                      Invoice No. 766174
                                                                      March 18, 2013
                                                                      L0353-000007


2/4/13       CWD OC B. Guiney and D. Lowenthal re Committee            0.30         $151.50
                  call (.2); reviewing docket (.1).
2/4/13       DAL Prepare for and participate in Committee call         5.50        $4,730.00
                   and related follow-up (2.8); e-mails and TC
                   with Solus's counsel, follow-up memo to
                   LawDeb and work re filing requested by Courts
                   re next steps (2.2); review motion re late filed
                   claims (.5).
2/5/13       BPG     TC D. Lowenthal re: Nortel issues (.2); review    1.20         $798.00
                     docket (.2); voicemail M. Riela re: issue
                     submission, additional follow-up D. Lowenthal
                     and C. Dent re: same (.4); begin drafting same
                     (.4).
2/5/13       CWD OC B. Guincy re case status filing, TC D.            0.80          $404.00
                  Lowenthal re same, follow-up re same (.5);
                  reviewing docket (.2); follow-up re fee
                  statements and related audits (.1).
2/5/13       DAL Attention to billing (.6); confer with B. Guiney     2.50         $2,150.00
                   re filing due this week (.2); TC with J. Heaney
                   re case issues (.2); multiple e-mails with
                   Delaware counsel and Canadian counsel re
                   potential filing (.3); confer with B. Guiney and
                   C. Dent re same (.5); prepare schedule of
                   billing amounts for client (.7).
2/6/13       BPG     Review and revise draft joinder (.3); TC M.      3.60         $2,394.00
                     Riela re: same and follow-up re: same (.2); TC
                     D. Lowenthal re: same and follow-up (.3);
                     review proposed statement and follow-up (.5);
                     OC D. Lowenthal and C. Dent re: same (1.4);
                     TC F. Hodara, M. Riela, D. Lowenthal, A.
                     Qureshi re: scheduling and follow-up D.
                     Lowenthal re: same (.9).
2/6/13       CWD TC B. Guiney re case status filing, OC D.             2.20        $1,111.00
                  Lowenthal re same (.2); e-mails from
                  Committee re draft joint issues statement,
                  reviewing same, OC 1). Lowenthal and B.
                  Guiney re same (1.8); reviewing docket (.2).




6001906v.3
             Case 09-10138-MFW          Doc 17958-3      Filed 02/24/17   Page 21 of 60


                                                                      Page 3
                                                                      Invoice No. 766174
                                                                      March 18, 2013
                                                                      L0353-000007


2/6/13       DAL TC Committee counsel re status of negotiations        6.20      $5,332.00
                   with Debtors and Ad Hocs re scheduling
                   proposal and related follow-up (.9); TC J.
                   Heaney re update on negotiations and follow-
                   up (.2); TC B. Kahn re same (.2); work on
                   issues list (1.1); review Committee draft
                   submission and follow-up re same including
                   multiple TCs and e-mails with counsel for
                   Committee and holders, client, and counsel in
                   Canada (3.8).
2/7/13       BPG Work on joinder and circulate (.3); review Ad         3.50      $2,327.50
                   Hoc Bondholder Group proposal and follow-up
                  (.3); OC D. Lowenthal re: open issues (.3);
                  participate on Committee call, follow-up re:
                   same, participate on TC with D. Lowenthal and
                   J. Schiffrin (1.5); revise statement, circulate
                   final draft (1.1).
2/7/13       CWD E-mails re Committee case status filing (.1);        2.80       $1,414.00
                   reviewing docket (.2); reviewing draft joinder
                   to case status filing, e-mails w/C. Hamilton re
                   same (.5); OC and TC D. Attanasi re fee
                   statements (.1); Committee call, OC D.
                   Lowenthal and B. Guiney re same, e-mails
                   w/B. Kahn re same (1.7); TC C. Hamilton re
                   LawDeb filing (.2).
2/7/13       DAL E-mails with A. Pisa (.2); review Bondholder         4.30       $3,698.00
                   Group Litigation schedule (.3); TC A. Pisa re
                   same (.2); TC A. Qureshi re same (.1); e-mail
                   update to J. Heaney (.2); TC Committee
                   counsel re same (.5); e-mail holder's counsel
                   (.1); confer with B. Guiney (.4); TC J. Heaney
                   re next Committee call (.2); Committee call and
                   follow-up (1.5); e-mails with E. Lamek re filing
                   in Canada (.2); e-mail J. Heaney re submission
                   (.2); work on audit response (.1); TC holder's
                   counsel (.3).




6001906v.3
             Case 09-10138-MFW           Doc 17958-3       Filed 02/24/17       Page 22 of 60


                                                                         Page 4
                                                                         Invoice No. 766174
                                                                         March 18, 2013
                                                                         L0353-000007


2/8/13       BPG     Revise statement, circulate updated version         2.90        $1,928.50
                     (.4); review draft statement from Committee
                     and follow-up (.3); review revised statement,
                     follow-up D. Lowenthal re: same, follow-up C.
                     Dent re: same, attention to filing and service
                     issues (.8); multiple TCs and e-mails to finalize
                     and file statement (1.4).
2/8/13       CWD E-mails re LawDeb issues statement, reviewing           1.90          $959.50
                   same, revising same, OC B. Guiney re same
                   (1.1); e-mails re Committee issues statement,
                   reviewing same, TC B. Guiney re same (.2);
                   TC E. Lamek re service issues, e-mails re same
                   (.3); reviewing docket (.3).
2/8/13       DAL Draft submission and send to client and local           6.50        $5,590.00
                   counsel in Delaware and Canada (2.5); review
                   draft Committee submission and follow-up (.3);
                   work on billing (.2); e-mail Committee re draft
                   submission (.2); TC Committee counsel (.2);
                   revise and finalize submission including e-
                   mails and TCs with Delaware counsel and
                   colleagues (2.6); TC holder's counsel re
                   submission (.3); review e-mails from
                   Committee counsel re other, related filings (.2).
2/10/13      DAL E-mails with Committee counsel (.1).                    0.10           $86.00
2/11/13      BPG     Review issue statements filed in the Nortel case    1.90        $1,263.50
                     (1.0); TC D. Lowenthal re: same and re: open
                     issues, follow-up re: same (.5); follow-up re:
                     motion for late-filed claim (.2); review docket
                     (.2).
2/11/13      CWD Reviewing docket, including issues lists filed          1.40          $707.00
                   by mediation parties, reviewing summary chart
                   prepared by Committee (.9); e-mails re
                   LawDeb issues statement (.1); follow-up re
                   billing issues, OC D. Attanasi re same (.1);
                  reviewing case calendar, follow-up re same
                  (.2); OC B. Guiney re Committee joinder to
                  late filed claims objection (.1).




6001906v.3
             Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17       Page 23 of 60


                                                                         Page 5
                                                                         Invoice No. 766174
                                                                         March 18, 2013
                                                                         L0353-000007


2/11/13      DAL     Work on billing (.1); e-mail with Canadian           1.50        $1,290.00
                     counsel (.1); review Canadian filing (1.); e-mail
                     same to J. Heaney (.1); e-mail J. Heaney re
                     communications with Committee counsel (.3);
                     review submission issues with B. Guiney (.3);
                     review Committee e-mail employees re motion
                     to file claims and related motion (.4); e-mail J.
                     Heaney re same (.1).
2/12/13      BPG     Review Debtors' reply to motion to file late         2.00        $1,330.00
                     claim (.4); follow-up D. Lowenthal re: same
                     (.3); follow-up C. Dent re: same (.2); additional
                     follow-up D. Lowenthal re: same (.2); review
                     draft joinder and follow-up re: same, multiple
                     TCs and e-mails re: same (.9).
2/12/13      CWD Reviewing Debtors' draft claim objection, OC             1.40         $707.00
                  B. Guiney re same, TC same re same, e-mails
                  re same (.4); reviewing Agenda for 2/14
                   hearing, e-mails w/D. Lowenthal re same,
                   follow-up re same (.1); reviewing docket (.4);
                   reviewing draft Committee joinder to Debtors'
                  objection to late-filed claims, e-mails re same
                  (.4); OC D. Attanasi re billing issues, follow-up
                  re same (.1)
2/12/13      DAL Review Debtors' draft objection to Canadian              3.80        $3,268.00
                   employees' motion to file late claims (.9);
                   review hearing Agenda (.2); e-mails with J.
                   Heaney re late claims motion (.4); e-mails with
                   Akin re same (.2); follow-up with B. Guiney
                   (.2); review Debtors' final objection to motion
                   (.1); review and comment on Committee's draft
                   Joinder, including e-mails with J. Heaney; e-
                   mail with Committee, and TC BNY 's counsel
                   (1.8).
2/13/13      BPG     Review e-mails re: joinder and follow-up re:         1.10          $731.50
                     same (.1); review Wilmington Trust issues list
                     (.1); review revised joinder and follow-up re:
                     same (.4); review scheduling order, consider
                     same and follow-up, review multiple e-mails
                     re: same (.5).




6001906v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 24 of 60


                                                                      Page 6
                                                                      Invoice No. 766174
                                                                      March 18, 2013
                                                                      L0353-000007


2/13/13      CWD E-mails from Committee re issues statement            1.20          $606.00
                   and joinder to claims objection, TC D.
                   Lowenthal re same (.4); reviewing docket, TC
                   D. Lowenthal re same, follow-up re same (.4);
                   TC D. Attanasi re billing issues, TC T.
                   Fitzgerald re same (.4).
2/13/13      DAL Attention to Committee draft Joinder; TC              3.30        $2,838.00
                   Committee counsel re same; e-mail J. Heaney
                   re same; TC Committee counsel; Judge Gross'
                   scheduling order and related review issues
                   (3.3).
2/14/13      BPG     Review pleadings related to arbitration (cross    3.30        $2,194.50
                     motion and reply), follow-up D. Lowenthal re:
                     same (2.2); participate on Committee call and
                     follow-up (1.0); review e-mail from L.
                     Beckerman re: LTD (.1).
2/14/13      CWD Monitoring 2/14 omnibus hearing, OC D.               2.60         $1,313.00
                  Lowenthal re same and Committee call (2.1);
                  reviewing docket, e-mails re Committee re
                  same and revised scheduling Order, OC B.
                  Guiney re same (.5).
2/14/13      DAL Committee Call and related follow-up (2.0);          4.20         $3,612.00
                   review updated Order, pleadings and transcripts
                   re allocation issue (2.2).
2/15/13      BPG     Begin reviewing transcript of June 2011          2.00         $1,330.00
                     hearing (.7); continue reviewing same (1.1);
                     review monitor filing and follow-up, review
                     docket (.2).
2/15/13      CWD E-mails re joint allocation and related              1.60           $808.00
                   documents w/B. Guiney and M. Fagen,
                   reviewing same (.9); reviewing docket, e-mails
                   w/D. Lowenthal and B. Guiney re same (.1);
                   revising monthly fee statement, note to
                   accounting department re same (.6).
2/19/13      BPG     Continue reviewing transcript of June 2011       1.80         $1,197.00
                     hearing (.8); review Bondholder Group joinder,
                     forward same and follow-up re: same (.3);
                     review scheduling Order and follow-up (.1);
                     continue reviewing June 2011 transcript (.6).




6001906v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17   Page 25 of 60


                                                                       Page 7
                                                                       Invoice No. 766174
                                                                       March 18, 2013
                                                                       L0353-000007


2/19/13      CWD Reviewing docket, e-mails re same, OC B.               0.80        $404.00
                  Guiney re same (.4); revising monthly fee
                  statement, e-mail to D. Lowenthal re same (.4).
2/20/13      BPG     Finish reviewing June 2011 hearing transcript      1.20        $798.00
                     (.7); TC D. Lowenthal re: March 7 hearing (.5);
                     follow-up D. Lowenthal re: same (.1).
2/20/13      CWD Reviewing docket (.2); e-mail to S. Miller re          0.60        $303.00
                  transcript, TC D. Lowenthal re same (.1); e-
                  mails re monthly fee statement, revising same,
                  TC P. Sanghvi re same (.2); e-mail from
                  Committee re 2/21 call, reviewing agenda and
                  related materials re same (.1).
2/20/13      DAL Confer with B. Guiney re upcoming due dates            0.90        $774.00
                    and hearing (.6); TC S. Miller re case issues
                    (.3).
2/21/13      BPG Prepare for and participate on weekly                  1.40        $931.00
                    Committee call, follow-up re: same (.9);
                    follow-up re: core party issue (.3); additional
                    follow-up re: same (.2).
2/21/13      CWD Reviewing docket (.2); preparing for and               1.20        $606.00
                  participating in Committee call, OC D.
                  Lowenthal and B. Guiney re same (.8); revising
                  month fee statement, TC D. Lowenthal re
                  same, e-mails w/same re same (.2).
2/21/13      DAL Work on fee statement (.8); prepare for and           2.10       $1,806.00
                  participate in Committee call (1.0); review
                  BNY court filing re allocation protocol (.3).
2/22/13      BPG     Consider issues re allocation protocol hearing     0.60        $399.00
                     with D. Lowenthal, VM M. Riela re: same (.2);
                     TC M. Riela re: same, follow-up D. Lowenthal
                     re: same (.4).
2/22/13      CWD Reviewing docket (.1).                                 0.10         $50.50
2/22/13      DAL Work on core party issue (.1); work on fee             0.60        $516.00
                  statement (.1); send fee statement to LawDeb
                  (.1); confer with B. Guiney re pleading and
                  upcoming hearing (.3).




6001906v.3
              Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 26 of 60


                                                                       Page 8
                                                                       Invoice No. 766174
                                                                       March 18, 2013
                                                                       L0353-000007


2/25/13      BPG Work on statement for March 4 submission,              1.80        $1,197.00
                  follow-up C. Dent re: same (1.2); follow-up D.
                  Lowenthal and C. Dent re: same, review e-
                  mails re: same (.6).
2/25/13      CWD OC B. Guiney re allocation motion joinder, e-          0.90         $454.50
                  mails w/same and D. Lowenthal re same,
                  follow-up re same, follow-up OC w/D.
                  Lowenthal and B. Guiney (.4) reviewing draft
                  joinder (.2); reviewing docket (.2); follow-up re
                  monthly fee statement, e-mails w/S. Chung re
                  same (.1).
2/25/13      DAL Review pleadings re allocation motion (2.00);         3.90         $3,354.00
                   analysis and recommendation re next steps to J.
                   Heaney (1.00); analyze allocation issues for
                   potential pleading (.8); leave message for BNY
                   's counsel (.1).
2/26/13      BPG Review docket, review e-mails re: March 4              1.10         $731.50
                   submission, follow-up re: same (.2); follow-up
                   D. Lowenthal and C. Dent re: draft submission
                   (.5); begin research re: same (.4).
2/26/13      CWD Reviewing docket (.2); follow-up re 3/7 hearing       1.30          $656.50
                  (.2); e-mails re 1109 research, TC B. Guiney re
                  same, follow-up research re same (.9).
2/26/13      DAL TC BNY's counsel (.2); TC BNY's counsel and            5.30        $4,558.00
                   Committee counsel (.3); e-mail J. Heaney re
                   update (.2); research re party-in-interest status
                   (2.3); work on billing (.1); review filed
                   pleadings re allocation protocol (2.2).
2/27/13      BPG     Identify other allocation processes and draft     2.30        $1,529.50
                     insert for pleading (1.2); follow-up D.
                     Lowenthal re: same (.2); OC C. Dent re: same
                     and additional follow-up (.4); review research
                     re: same (.5).




6001906v.3
             Case 09-10138-MFW          Doc 17958-3      Filed 02/24/17       Page 27 of 60


                                                                      Page 9
                                                                      Invoice No. 766174
                                                                      March 18, 2013
                                                                      L0353-000007


2/27/13      CWD E-mails from Committee re draft Debtor                4.20        $2,121.00
                   allocation response, reviewing same (.4);
                   research re 1109, OC B. Guiney re same, TC D.
                   Lowenthal re same, drafting summary e-mail re
                   same, e-mails w/same re same (3.4); reviewing
                   docket (.2); e-mails re draft allocation
                   statement (.2).
2/27/13      DAL Review draft Committee pleading (1.0); e-             6.00        $5,160.00
                   mails with Akin (.3); e-mails with J. Heaney
                   (.2); review case law (2.00); TC's with C. Dent
                   re same (.2); review memos from B. Guiney
                   and C. Dent re case research (.5); review
                   Orders in Adelphia (.4); begin outlining
                   pleading (.7); review Committee meeting
                   agenda and related materials (.7).
2/28/13      BPG Review draft Committee pleading and follow-           0.60          $399.00
                   up (.3); review draft LawDeb pleading and
                   follow-up (.3).
2/28/13      CWD Reviewing docket (.3); reviewing draft BNY            5.40        $2,727.00
                  statement, e-mails re same, TC D. Lowenthal re
                  same (.2); revising statement, OC D. Lowenthal
                  re same, multiple TCs w/same re same, e-mails
                  re same (2.4); preparing for and participating in
                  Committee call, OC D. Lowenthal re same
                  (1.2); follow-up re 3/5 hearing, e-mails re same
                  (.1); TC E. Lamek re Canadian statement (.5);
                  call w/D. Botter and M. Riela re allocation
                  motion, OC D. Lowenthal re same, follow-up
                   re same (.7)
2/28/13      DAL Review updated draft joint Debtor-UCC                 7.60        $6,536.00
                   submission (1.0); e-mails with Akin and BNY's
                   counsel re allocation protocol issues (.3); e-
                   mails with J. Heaney re same (.2); e-mail with
                   local counsel in Delaware and Canada re same
                   (.4); prepare for and participate in Committee
                   call and related follow-up (1.5); draft and
                   revise submission (3.7); TC Akin and BNY's
                   counsel re update on protocol issues and
                   follow-up with C. Dent (.5).




6001906v.3
             Case 09-10138-MFW       Doc 17958-3     Filed 02/24/17          Page 28 of 60


                                                                    Page 10
                                                                    Invoice No. 766174
                                                                    March 18, 2013
                                                                    L0353-000007



                                               Total Services       136.60       $99,325.00


             Daniel A Lowenthal        69.20 hours at $860.00 $59,512.00
             Brian P. Guiney           36.10 hours at   $665.00 $24,006.50
             Craig W. Dent             31.30 hours at   $505.00 $15,806.50


                   Lexis Electronic Research                           130.66
                   Reproduction                                          9.00
                   Telephone                                            31.09

                                               Total Expenses                      $170.75

                                               Total This Invoice                $99,495.75.




6001906v.3
              Case 09-10138-MFW                Doc 17958-3             Filed 02/24/17             Page 29 of 60




                                 Patterson Belknap Webb & Wier ....
                   1133 Avenue of the Americas New York, NY 10036-6710 212.3362000 fax 212.336.2222 www.obwt.com




 Law Debenture Trust Company of New York                                                  Invoice No. 768335
 400 Madison Avenue                                                                       April 12, 2013
 New York, NY 10017                                                                       FEI No. XX-XXXXXXX

 Re: NORTEL                                                                               L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                                March 31, 2013 In Connection With The Following:


3/1/13         BPG      Review and revise pleading, follow-up re:                          1.60           $1,064.00
                        same, TCs and e-mails re: same (.8); additional
                        follow-up re: same (.5); discuss March 4
                        hearing with D. Lowenthal (.3).
3/1/13         CWD E-mails re LawDeb statement, reviewing and                              2.10           $1,060.50
                     revising same (1.4), multiple OCs w/B. Guiney
                     re same, multiple TCs w/D. Lowenthal re same,
                     OC same re same, TC S. Miller re same (.6);
                     reviewing docket (.1).
3/1/13         DAL      Revise pleading and circulate to J. Heaney,                        5.60           $4,816.00
                        local counsel in Delaware and Canada, and
                        holder's counsel (3.0); TC B. Guiney re hearing
                        (.3): TC S. Miller re pleading and follow-up
                        revisions and e-mails (.4); TC holder's counsel
                        (.3); review hearing Agenda and related
                        pleadings (.8); review updated Debtors-
                        Committee draft pleading and e-mails to
                        colleagues and local counsel re same (.8).
3/3/13         BPG      Review revised pleading from Committee,                            0.50             $332.50
                        follow-up D. Lowenthal re: same (.5).
3/3/13         CWD E-mails re LawDeb statement (.2).                                       0.20             $101.00
3/3/13         DAL      E-mail Canadian counsel re draft pleading (.1);                    3.10          $2,666.00
                        revise draft filing (2.7); e-mails with Akin and
                        BNY's counsel re same (.3).




607946 iv.1
             Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17     Page 30 of 60




                                                                        Page 2
                                                                        Invoice No. 768335
                                                                        April 12, 2013
                                                                        L0353-000007


3/5/13         BPG     OC D. Lowenthal and C. Dent re: hearing          2.00        $1,330.00
                       preparation (1.0); multiple TCs and e-mails
                       with E. Lamek, S. Miller, and Akin Gump re:
                       same (.8); additional follow-up re: same (.2).
3/5/13         CWD E-mails from Committee re allocation filings,        3.00        $1,515.00
                     reviewing same (.2); e-mails re 3/7 hearing,
                     meeting w/D. Lowenthal and B. Guiney re
                     same, follow-up re same (1.4); reviewing
                     docket (.4); e-mails w/M. Fagen and B. Kahn re
                     3/5 omnibus hearing (.2); revising monthly
                     billing statement, note to accounting
                     department re same (.6); TC D. Lowenthal re
                     calls w/Akin and Canadian counsel, follow-up
                     re same (.2).
3/5/13        DAL Review additional submissions filed for March         5.40        $4,644.00
                    7 hearing (3.2); prepare for March 7 hearing
                    with B. Guiney and local counsel in Delaware
                    and Canada (1.2); TC Canadian counsel re
                    same (.3); TC counsel for Committee and BNY
                    re same (.3); follow-up call with S. Miller re
                    same (.3); update with C. Dent re Court hearing
                    (.1).
3/6/13        BPG      Review all pleadings for March 7 hearing,        5.30        $3,524.50
                       follow-up re: same (2.1); multiple TCs and e-
                       mails re: same and prepare for same (.9); and
                       travel to March 7 hearing (2.3).
3/6/13        CWD Reviewing docket (.2); e-mails re allocation          0.60         $303.00
                   statements and 3/7 hearing, follow-up re same
                   (.4).
3/6/13        DAL Review pleadings and prepare for hearing with         2.40        $2,064.00
                    B. Guiney (for part) (2.2); e-mails with
                    Canadian counsel re same (.2).
3/7/13        BPG      Prepare for, attend and return from Bankruptcy   7.50        $4,987.50
                       Court hearing (7.5).
3/7/13        CWD E-mails re 3/7 hearing (.4); reviewing docket         1.50         $757.50
                    (.3); revising monthly billing detail, e-mails
                    w/D. Lowenthal re same (.7); follow-up re 3/8
                    hearing, e-mails w/colleagues re same (.1).
3/7/13        DAL      Court hearing and related follow up. (2.5).      2.50        $2,150.00



6079461v.1
             Case 09-10138-MFW        Doc 17958-3         Filed 02/24/17        Page 31 of 60




                                                                        Page 3
                                                                        Invoice No. 768335
                                                                        April 12, 2013
                                                                        L0353-000007


3/8/13        BPG   Prepare for and monitor Court hearing, follow-       1.30         $864.50
                    up re: same (.5); additional follow-up re: 3/7
                    hearing (.4); prepare for and participate on
                    Committee call, follow-up re: same (.4)
3/8/13        CWD   E-mails re 3/8 hearing, OC B. Guiney re same         1.30         $656.50
                    (.2); reviewing docket (.2); preparing for and
                    monitoring 3/8 hearing, TC D. Lowenthal and
                    B. Guiney re same (.7); Committee call (.2).
3/8/13        DAL   E-mails to J. Heaney and Committee counsel           1.20        $1,032.00
                    (.2); prepare for and participate in Court
                    hearing (.8); e-mails with holder's counsel (.2).
3/11/13       CWD   Reviewing docket (.1); OC D. Lowenthal re            0.30         $151.50
                    case issues (.2).
3/12/13       CWD   Reviewing docket (.2).                               0.20         $101.00
3/13/13       CWD   Reviewing docket, e-mails w/D. Lowenthal and         0.20         $101.00
                    B. Guiney re same (.2).
3/13/13       DAL   Docket check (.5).                                   0.50         $430.00
3/14/13       CWD   Participating in Committee call, e-mails re          0.20         $101.00
                    same (.2).
3/14/13       DAL   Committee call (.2).                                 0.20         $172.00
3/15/13       CWD   Reviewing docket, TC D. Lowenthal re same            0.30         $151.50
                    (.2); follow-up re hearing calendar (.1).
3/15/13       DAL   Work on fee statement (.6).                          0.60         $516.00
3/16/13       CWD   Reviewing Monitor's proposed litigation              0.20         $101.00
                    schedule and discovery procedures (.2).
3/17/13       DAL   Work on fee statement (.3).                          0.30         $258.00
3/18/13       BPG   TC D. Lowenthal re: open issues (.1); review         1.10         $731.50
                    docket, review proposed timeline (.7); consider
                    claim purchases with C. Dent, follow-up re:
                    same (.3).
3/18/13       CWD   E-mails re monthly fee statement, TC D.              0.30         $151.50
                    Attanasi re same (.1); reviewing docket, TC B.
                    Guiney re same (.2).
3/18/13       DAL   Review Monitor's proposed schedule (1.3);            1.50        $1,290.00
                    work on fee statement (.2).




6079461v.1
            Case 09-10138-MFW          Doc 17958-3         Filed 02/24/17        Page 32 of 60




                                                                         Page 4
                                                                         Invoice No. 768335
                                                                         April 12, 2013
                                                                         L0353-000007


3/19/13      BPG     Follow-up re: proposed schedules, consider           0.90         $598.50
                     same with D. Lowenthal, TC D. Botter re:
                     same, follow-up D. Lowenthal re: same (.9).
3/19/13      CWD Reviewing docket (.2); e-mail from Canadian              0.50         $252.50
                  counsel re Monitor allocation schedule,
                   reviewing correspondence re same (.1); begin
                   drafting LawDeb update (.2).
3/19/13      DAL Confer with B. Guiney re scheduling issues               0.50         $430.00
                   (.5).
3/20/13      BPG   Review proposed litigation schedule and                1.80       $1,197.00
                   discovery plan, consider dates and follow-up
                   re: same (.9); review letter from Monitor,
                   follow-up re: same (.2); review docket (.1); OC
                   C. Dent re: same (.1); OC D. Lowenthal and C.
                   Dent re: litigation plan and discovery plan (.5)
3/20/13      CWD E-mails re allocation schedule from colleagues           2.80       $1,414.00
                   and Committee, reviewing Monitor letter and
                   Debtors' allocation schedule re same (.5);
                   reviewing docket (.3); meeting w/ D.
                   Lowenthal and B. Guiney re allocation
                   schedule follow-up re same (1.1); drafting
                   LawDeb case update (.9).
3/20/13      DAL TC B. Kahn re Committee call (.1); e-mails               2.50       $2,150.00
                   with J. Heaney re same (.1); review draft
                   discovery plans and schedules and e-mails from
                   Committee counsel (2.3).
3/21/13      BPG     Review revised litigation and discovery              2.30       $1,529.50
                     schedules, follow-up re: same, review docket
                     (.9); prepare for (.1); and participate on weekly
                     Committee call and follow-up re: same (.8);
                     review docket, attention to claim transfers (.2);
                     review U.S Debtor's letter to Canadian Court,
                     review submission to Bankruptcy Court (.3).




6079461vA
             Case 09-10138-MFW           Doc 17958-3           Filed 02/24/17      Page 33 of 60




                                                                           Page 5
                                                                           Invoice No. 768335
                                                                           April 12, 2013
                                                                           L0353-000007


3/21/13        CWD Finalizing LawDeb case update, e-mails w/D.              2.70        $1,363.50
                     Lowenthal re same (1.5); reviewing docket, e-
                     mails from Committee re Debtors' allocation
                     schedule filing (.4); Committee call, OC D.
                     Lowenthal and B. Guiney re same, call w/J.
                     Heaney re same (.7); follow-up re 3/26
                     omnibus hearing (.1).
3/21/13        DAL     Committee call and related follow-up with J.         1.00         $860.00
                       Heaney and D. Botter (1.0).
3/22/13        BPG     Review and revise update to client (.2)              0.20         $133.00
3/22/13        CWD E-mails re LawDeb case update (.2); reviewing           0.40          $202.00
                     docket and Agenda for 3/26 hearing (.2).
3/22/13        DAL     Review and revise client update (.9).                0.90         $774.00
3/25/13        BPG     Review EMEA letter, review docket, follow-up         0.50         $332.50
                       re: status (.5).
3/25/13        CWD Reviewing docket (.3).                                   0.30         $151.50
3/26/13        BPG     Review additional submissions re: allocation         1.50         $997.50
                       scheduling (.1); TC D. Lowenthal re: claim
                       transfers (.2); review submissions re: allocation
                       proceeding, follow-up D. Lowenthal re: same
                       (.5); follow-up re: status conference (.1); TC D.
                       Lowenthal re: same (.4); attention to e-mail
                       from B. Kahn (.2).
3/26/13        CWD Reviewing docket (.2); monitoring omnibus                0.60         $303.00
                    hearing (.2); follow-up re 3/27 hearing, TC D.
                    Lowenthal re same, e-mail from Committee re
                    same (.2).
3/26/13        DAL     Review claims issues with B. Guiney (.2);           2.40         $2,064.00
                       review Court correspondence from core parties
                       (.2); notice of Court conference, related e-mails
                       with Committee counsel and J. Heaney, and
                       review numerous letters filed by parties with
                       Canadian Court re scheduling issues (2.0).
3/27/13        BPG     Review docket, attention to claim transfers (.2);   3.30         $2,194.50
                       gather and review materials for hearing (.8);
                       monitor same and follow-up re: same (2.1);
                       follow-up re: core party designation (.2).




6079461v.1
             Case 09-10138-MFW           Doc 17958-3        Filed 02/24/17         Page 34 of 60




                                                                           Page 6
                                                                           Invoice No. 768335
                                                                           April 12, 2013
                                                                           L0353-000007


3/27/13       CWD Reviewing docket (.2); monitoring status                  2.30        $1,161.50
                   conference, OC and B. Guiney D. Lowenthal re
                   same (2.0); e-mails from Committee (.1).
3/27/13       DAL     Prepare for and participate in Court status           3.20        $2,752.00
                      conference and related follow-up with J.
                      Heaney and L. Schweitzer (3.2).
3/28/13       BPG     Monitor Committee call and follow-up re: same         1.50         $997.50
                      (.8); review docket, review pleadings related to
                      retiree 9019 (.3); follow-up re: allocation
                      pleading, consider open issues related to same
                      (.4).
3/28/13       CWD Reviewing docket (.2); Committee call, OC D.              1.10         $555.50
                    Lowenthal and B. Guiney re same (.8),;
                    reviewing Agenda for 4/2 hearing, follow-up re
                   same (.1).
3/28/13       DAL Prepare for and participate in Committee call             1.20        $1,032.00
                    (.9); e-mail from L. Schweitzer (.1); review
                    hearing Agenda (.1); e-mail from Committee
                    counsel re time of Court decisions (.1)

                                                     Total Services        87.40       $61,570.00


               Daniel A Lowenthal           35.00 hours at      $860.00 $30,100.00
               Craig W. Dent                21.10 hours at      $505.00 $10,655.50
               Brian P. Guiney              31.30 hours at      $665.00 $20,814.50


                      Company Cars                                            210.75
                      Filing Fees/Index Fees                                  160.00
                      Lexis Electronic Research                                 4.62
                      Local Travel & Fares                                     16.75
                      Misc.                                                    58.00
                      Tv I. Transportation/Lodging                            527.90

                                                      Total Expenses                     $978.02


                                                      Total This Invoice             A62.548322




6079461v.1
            Case 09-10138-MFW             Doc 17958-3        Filed 02/24/17        Page 35 of 60




                   Patterson Belknap Webb &Tyler LLP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                        Invoice No. 770537
400 Madison Avenue                                                             May 13, 2013
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                              April 30, 2013 In Connection With The Following:


4/1/13       BPG       Review docket (.2); follow-up re: proposed               0.50          $332.50
                       litigation schedule, consider next steps with D.
                       Lowenthal (.2); review e-mail re: litigation
                       schedule and follow-up (.1).
4/1/13       CWD Reviewing docket (.2); reviewing Agenda for                    0.40          $202.00
                  4/2 hearing, follow-up re omnibus hearing
                  dates with managing clerk (.2).
4/1/13       DAL Review request by Canadian counsel for                         0.40          $344.00
                   meeting re scheduling and respond to same (.4).
4/2/13       BPG       Review docket, attention to fee applications             1.10          $731.50
                       (.5); follow-up TC D. Lowenthal re: same (.3);
                       attention to omnibus dates (.1); follow-up re:
                       Retiree Committee settlement, review e-mail
                       re: same (.2).
4/2/13       CWD Monitoring omnibus hearing (2.6); reviewing                   2.80         $1,414.00
                  docket (.2).
4/2/13       DAL       Attention to Cleary fee application (.3); e-mail        0.70           $602.00
                       J. Heaney re proposed meeting to discuss
                       scheduling (.1); review Retiree Committee
                       motion report from Committee counsel (.3).
4/3/13       BPG      Review Bankruptcy Court Order and Opinion,                1.90        $1,263.50
                      review Canadian Order, follow-up re: same
                      (1.2); review calendar, review proposed
                      schedules (.3); follow-up re: same, re: core
                      party issues (.4).
         Case 09-10138-MFW          Doc 17958-3         Filed 02/24/17     Page 36 of 60


                                                                       Page 2
                                                                       Invoice No. 770537
                                                                       May 13, 2013
                                                                       L0353-000007


4/3/13   CWD E-mails re Committee call (.1); reviewing                  0.70        $353.50
               docket, e-mails re allocation Order (.2); TC D.
               Lowenthal re allocation protocol conference
               call and related proposals, follow-up re same,
               OC same re same (.4).
4/3/13   DAL Review Opinion and Order re Allocation                     1.60      $1,376.00
               Protocol (1.6).
4/4/13   BPG Research re: calculation of amount due under               1.60      $1,064.00
               Indenture, follow-up re: same (.5); prepare for,
               participate on, and follow-up re: weekly
               Committee call (1.1).
4/4/13   CWD Reviewing docket (.2); Committee call, OC D.               0.90        $454.50
              Lowenthal and B. Guiney re same (.7).
4/4/13   DAL     Participate in call with core parties re allocation    4.20      $3,612.00
                 proceeding logistics (2.8); Committee call and
                 related follow-up (1.4).
4/5/13   BPG     Review revised litigation timetable (.5); review       1.00        $665.00
                 docket (.1); review docket (.1); consider
                 opening allocation submission, review
                 mediation positions re: same (.3).
4/5/13   CWD Reviewing docket (.1).                                     0.10         $50.50
4/5/13   DAL Review hearing Agenda (.1).                                0.10         $86.00
4/8/13   CWD Reviewing docket (.1); e-mails re Canadian                 0.20        $101.00
              filings (.1).
4/9/13   BPG Review appeal document, OC C. Dent re: same                4.30       $2,859.50
               (for part), TC B. Kahn re: same (for part),
               additional follow-up re: same, TC D.
               Lowenthal re: same (.8); review proposed
               litigation timetable, revised allocation protocol,
               revised discovery plan and proposed
               confidentiality agreement, follow-up re: same
               (3.5).
4/9/13   CWD Reviewing docket (.1); e-mails re Canadian                 1.10        $555.50
              appeal, OC B. Guiney re same and related
              issues, call w/B. Kahn re same (.5); revising
              monthly fee statement (.5).
          Case 09-10138-MFW          Doc 17958-3        Filed 02/24/17    Page 37 of 60


                                                                      Page 3
                                                                      Invoice No. 770537
                                                                      May 13, 2013
                                                                      L0353-000007


4/9/13    DAL Review appeal document from Canada and                   0.40        $344.00
                review same with B. Guiney (.4).
4/10/13   BPG Review docket, follow-up D. Lowenthal and C.             1.80      $1,197.00
                Dent re: review of litigation schedule, and
                related documents (.2); meet with D.
                Lowenthal and C. Dent re: discovery/litigation
                documents, follow-up re: same (1.4); TC B.
                Kahn re: same (.1); TC E. Weiss re: same (.1).
4/10/13   CWD Reviewing docket (.2); note to accounting                2.50      $1,262.50
               department re monthly fee statement, revising
               same, e-mails w/D. Lowenthal re same (.3);
               reviewing revised allocation protocol filings,
               meeting w/D. Lowenthal and B. Guiney re
               same, TC B. Guiney re same (2.0).
4/10/13   DAL Review draft allocation documents with B.                2.40      $2,064.00
                Guiney and C. Dent (for part) and related TC
                with S. Miller (2.4).
4/11/13   BPG     Prepare for, participate on and follow-up re:        1.50        $997.50
                  weekly Committee call (1.3); review MOR
                  with C. Dent and follow-up (.1); review docket
                  (.1).
4/11/13   CWD Reviewing docket, OC B. Guiney re same,                  1.80        $909.00
               follow-up re same (.4); preparing for and
               participating in Committee call, OC D.
               Lowenthal and B. Guiney re same (1.4).
4/11/13   DAL     Prepare for and participate in Committee call        4.10       $3,526.00
                  and related follow-up with S. Miller (2.5);
                  review Debtors' objection to Paroski motion
                  (.2); review discovery and allocation draft
                  documents (1.2); e-mails with Debtors' counsel
                  re information in allocation protocol (.1); leave
                  detailed message for Wilmington Trust's
                  counsel (.1).
4/12/13   BPG  Follow-up re: hearing dates (.1); review docket         0.20        $133.00
               (.1).
4/12/13   CWD Reviewing docket (.2); e-mails re case                   0.40        $202.00
               calendar, follow-up re same (.1); e-mails and
               follow-up re fee statement (.1).
          Case 09-10138-MFW          Doc 17958-3        Filed 02/24/17    Page 38 of 60


                                                                      Page 4
                                                                      Invoice No. 770537
                                                                      May 13, 2013
                                                                      L0353-000007


4/12/13   DAL Work on fee statement; (.7); review hearing              1.00        $860.00
               Agenda (.1); TC with Wilmington Trust's
               counsel and follow-up (.2).
4/15/13   BPG     Review docket, attention to claim transfers (.2);    0.50        $332.50
                  review Certificate of Counsel re: allocation
                  protocol and follow-up re: same (.3).
4/15/13   DAL Review Committee counsel's e-mail and related            1.80      $1,548.00
                draft Debtors' Certificate of Counsel re
                allocation protocol and related follow-up with
                Committee counsel and BNY's counsel (.5);
                review e-mail from Debtors' counsel and
                updated allocation protocol (1.3).
4/16/13   BPG     Review Certificate of Counsel as filed, follow-     0.50         $332.50
                  up re: same (.1); review docket, 9019 motion
                  (.2); attention to scheduling Order, follow-up
                  re: same (.2).
4/16/13   CWD Committee e-mails re 4/24 hearing (.1); e-mails         0.20         $101.00
               re Canadian counsel retention letter (.1).
4/16/13   DAL Review filings in US and Canada re updated              3.30       $2,838.00
                proposed allocation protocol (1.7); review
                engagement letter at J. Heaney's request and
                provide comments to J. Heaney re same (1.1);
                review allocation Opinion (.5).
4/17/13   BPG     Review docket (.2); OC D. Lowenthal re:             0.60         $399.00
                  weekly meeting, 4/24 hearing, follow-up re:
                  same (.3); e-mails with D. Lowenthal re:
                  weekly call, appeal (.1).
4/17/13   DAL Review Order re KPMG (.1); conf. B. Guiney              2.10       $1,806.00
                re upcoming hearing (.2); review Court
                decisions and Orders re allocation litigation and
                process, including judges' Orders re conference
                on litigation timetable and discovery plan (.9);
                initial review of EMEA appeal papers (.9).
4/18/13   BPG     Review motion for leave to appeal, notice of        2.00       $1,330.00
                  appeal, follow-up re: same (.6); prepare for and
                  participate on conference call re: same, follow-
                  up re: same (.6); e-mail D. Lowenthal re: same
                  (.1); consider stay pending appeal, other appeal
                  issues (.6); review docket (.1).
          Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17     Page 39 of 60


                                                                     Page 5
                                                                     Invoice No. 770537
                                                                     May 13, 2013
                                                                     L0353-000007


4/18/13   CWD E-mails re EMEA appeals (.1).                           0.10         $50.50
4/22/13   BPG     OC C. Dent re: status (.1); TC D. Lowenthal re:     0.40        $266.00
                  status (.1); review docket, follow-up C. Dent
                  re: Wednesday hearing (.2).
4/22/13   CWD Reviewing docket and Agenda for 4/24                    1.10        $555.50
               hearing, OC B. Guiney re same, follow-up re
               same (.4); reviewing appeal documents, OC B.
               Guiney re same (.7).
4/22/13   DAL Attention to April 24 Court conference,                 1.70      $1,462.00
                including TC B. Guiney and review of hearing
                Agenda (.5); review submissions re litigation
                timetable and discovery plan (1.2).
4/23/13   BPG     Follow-up re: request from E. Weiss, follow-up      3.10      $2,061.50
                  D. Lowenthal, J. Heaney re: same (.3); review
                  Debtors' revised discovery plan and litigation
                  timetable, follow-up re: same (.7); follow-up E.
                  Weiss re: same (.1); review e-mail from R.
                  Johnson re: frivolous appeal motion, follow-up
                  re: same (.3); review scheduling submissions
                  and follow-up re: 4.24 hearing, follow-up C.
                  Dent re: same, follow-up D. Lowenthal re:
                  same (1.7).
4/23/13   CWD E-mails re Debtors' litigation timetable and            2.20      $1,111.00
                discovery plan (.2); reviewing docket and
                allocation protocol submissions, e-mails from
                Committee re same, OC B. Guiney re same, TC
                same re same, OC D. Lowenthal re same (1.4);
                e-mail from Committee re EMEA appeals,
                reviewing attached motion (.4); e-mail from
                Committee re LTD objections, reviewing
                summary re same (.2).
4/23/13   DAL E-mails with. J. Heaney re Debtors' request re          4.70      $4,042.00
                litigation timetable and discovery plan; review
                Debtors' revised litigation timetable and
                discovery plan and TC S. Miller re same and
                Court conference (1.5); review Committee draft
                pleadings and e-mails with J. Heaney re same
                (1.0); review numerous papers filed in Court re
                4/24 hearing (2.1); e-mail J. Heaney re hearing
                (.1).
          Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17       Page 40 of 60


                                                                   Page 6
                                                                   Invoice No. 770537
                                                                   May 13, 2013
                                                                   L0353-000007


4/24/13   BPG   Review revised hearing Agenda and other             3.10        $2,061.50
                submissions (.2); monitor Court hearing (for
                part) (1.8); follow-up re: same (.2); review
                recent cases re Indenture issues, follow-up C.
                Dent re: same (.9).
4/24/13   CWD   Follow-up re 4/24 hearing, OC B. Guiney re          2.20        $1,111.00
                same, monitoring same (for part), e-mails re
                same (1.8); reviewing docket, e-mail to
                managing clerk's office re same, follow-up re
                same (.3); e-mails re 4/25 Committee call and
                related materials (.1).
4/24/13   DAL   Court hearing in Delaware and follow-up with        9.30        $7,998.00
                B. Guiney (9.3).
4/25/13   BPG   Review docket (.1); review materials from L.        1.70        $1,130.50
                Beckerman (.4); prepare for and participate on
                UCC call, follow-up re: same (1.0); review
                additional materials from Committee counsel
                (.2).
4/25/13   CWD   Reviewing EMEA amended notice of motion             0.70          $353.50
                for appeal (.1); reviewing docket (.4);
                Committee call (for part) (.2).
4/25/13   DAL   Prepare for Committee call, including review        2.00        $1,720.00
                LTD papers and draft joinder and Capstone
                deck re lease proposal and related follow-up
                (2.0).
4/26/13   BPG   Review docket, review objection to claim            0.20          $133.00
                transfer (.2).
4/26/13   CWD   Reviewing docket (.4).                              0.40          $202.00
4/26/13   DAL   Attention to draft Confidentiality Agreement        0.20          $172.00
                (.2).
4/29/13   BPG   Review docket, attention to LTD pleadings           1.30          $864.50
                (.3); review comments to confidentiality
                stipulation and related correspondence (.4);
                review petition for direct appeal to 3rd Circuit
                (.2); review objection to frivolous appeal
                motion (.4).
          Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17    Page 41 of 60


                                                                    Page 7
                                                                    Invoice No. 770537
                                                                    May 13, 2013
                                                                    L0353-000007


4/29/13   CWD    Reviewing docket and Agenda for 5/1 hearing         1.30         $656.50
                 (.4); e-mails re confidentiality agreement and
                 Canadian filings, reviewing CCC's and Debtors'
                 comments re same (.3); reviewing Debtors'-
                 Committee's draft allocation brief (.5).
4/29/13   DAL    Review hearing Agenda (.3); review responses        2.20        $1,892.00
                 re appeal jurisdiction (1.9).
4/30/13   BPG    Review docket, follow-up re: CCC's 2019 (.1);       2.50        $1,662.50
                 OC C. Dent re: same and re: brief (.1); begin
                 reviewing and commenting on brief (.4);
                 complete review of allocation brief (.9); OC D.
                 Lowenthal and C. Dent re: same (.8); review L.
                 Beckerman e-mail re: LTD (.2).
4/30/13   CWD    OC B. Guiney re Debtors'-Committee's draft          1.60         $808.00
                 allocation brief, preparing for and meeting
                 w/D. Lowenthal and B. Guiney re same (1.2);
                 reviewing docket, e-mails re CCC's 2019 (.2);
                 e-mail from Committee re Debtors' reply in
                 support of motion re retention of jurisdiction,
                 reviewing same (.2).
4/30/13   DAL    Review DLA Piper 2019 Statement (.1); review        4.80        $4,128.00
                 draft allocation submission (2.8); TC
                 Wilmington Trust's counsel re May 1 hearing
                 (.1); review amended hearing Agenda (.1);
                 review draft allocation statement with B.
                 Guiney and C. Dent and e-mail Akin re same
                 (1.2); review draft Confidentiality Agreement
                 (.5).

                                                Total Services      97.50       $70,690.50


           Daniel A Lowenthal         47.00 hours at       $860.00 $40,420.00
           Craig W. Dent              20.70 hours at       $505.00 $10,453.50
           Brian P. Guiney            29.80 hours at       $665.00 $19,817.00
Case 09-10138-MFW       Doc 17958-3        Filed 02/24/17      Page 42 of 60


                                                           Page 8
                                                           Invoice No. 770537
                                                           May 13, 2013
                                                           L0353-000007




      Lexis Electronic Research                               133.93
      Messenger Service                                        17.00
      Misc.                                                   206.00
      Outside Professional Services                           222.44
      Tvl - Meals                                             358.79
      Tvl. Transportation/Lodging                           2,956.38

                                      Total Expenses                   $3,894.54


                                      Total This Invoice           , __$74,585.Q4
             Case 09-10138-MFW             Doc 17958-3         Filed 02/24/17       Page 43 of 60




                    Patterson Belknap Webb & Tyler                                        LLP


          1133 Avenue of the Americas New York. NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                         Invoice No. 774477
400 Madison Avenue                                                              June 12, 2013
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                               May 31, 2013 In Connection With The Following:


5/1 /13       BPG      Review Debtors'/Committee's reply re                     2.70            $1,795.50
                       jurisdiction, follow-up re: same (.4); follow-up
                       re: call to discuss Cleary draft, review docket
                       (.1); monitor Nortel hearing (1.4); follow-up re:
                       same (.2); additional review of opening brief, e-
                       mail D. Lowenthal and C. Dent re: same (.6).
5/1/13       CWD OC B. Guiney re 5/1 hearing, monitoring same                   1.90             $959.50
                  (for part) (1.2); reviewing docket (.2); e-mails
                  from Committee re LTD hearing (.1); e-mails
                  from Committee re motion for leave to appeal
                  brief, reviewing same (.2); e-mails re Debtors'-
                  Committee's allocation brief (.1); e-mails re
                  allocation confidentiality agreement revisions
                  (.1).
5/1/13       DAL       Review joint reply re jurisdiction (.7); Court           4.20         $3,612.00
                       hearing on certification of appeal and
                       jurisdiction motion (by phone) (1.9); conf. B.
                       Guiney re hearing (.2); review draft allocation
                       brief (1.4).
5/2/13       BPG       Review docket, review materials for in-person            4.30         $2,859.50
                       Committee meeting (.7); travel to, attend and
                       return from same, follow-up re: same with C.
                       Dent (3.6).
5/2/13       CWD Reviewing agenda and Capstone presentation                     3.20         $1,616.00
                   re Committee call, participating in same (2.7);
                   reviewing docket (.2); OC B. Guiney re
                   Committee meeting, TC D. Lowenthal re same
                  (.3).
         Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17   Page 44 of 60


                                                                  Page 2
                                                                  Invoice No. 774477
                                                                  June 12, 2013
                                                                  L0353-000007


5/2/13   DAL Review draft Protective Order (.2); review            6.60      $5,676.00
               materials sent by Committee counsel for
               Committee meeting (.5); attend Committee
               meeting at Akin (3.7); review materials (2.0);
               e-mails with Capstone re meeting (.2).
5/3/13   BPG     Review docket, follow-up D. Lowenthal, C.         0.50        $332.50
                 Dent re: Capstone meeting (.2); review
                 materials regarding make-whole appeal (.1);
                 review endorsement from J. Morawetz (.2).
5/3/13   CWD Reviewing docket and Agenda for 5/7 omnibus           0.40        $202.00
              hearing (.1); reviewing e-mails re submission
              of allocation briefs (.1); reviewing Canadian
              Court's endorsement re litigation timetable and
              discovery plan (.2).
5/3/13   DAL Review hearing Agenda (.1); TC A. Qureshi re          0.30        $258.00
               status of brief (.2).
5/6/13   BPG Meet with Capstone with D. Lowenthal and C.           1.40        $931.00
               Dent, follow-up re: same (1.4).
5/6/13   CWD Reviewing docket (.2); e-mails re Capstone            2.10      $1,060.50
              meeting, OC D. Lowenthal re same (.1);
              preparing for and meeting w/Capstone re
              allocation issues (1.5); reviewing revised
              Debtors'-Committee's allocation brief (.3).
5/6/13   DAL Prepare for and meeting with J. Borow and J.          1.90       $1,634.00
               Hyland (1.7); review notice re hearing (.4).
5/7/13   BPG     Review revised allocation brief and follow-up     1.10        $731.50
                 re: same (.6); review J. Gross Order and
                 follow-up (.3); review docket, attention to e-
                 mails (.2).
5/7/13   CWD Reviewing docket, e-mail from Committee re            0.30        $151.50
              same, reviewing Order and Opinion re retention
              of jurisdiction (.3).
5/7/13   DAL Review Judge Gross's decision re appeal               1.30       $1,118.00
               certification (1.3).
5/8/13   BPG     Review revised allocation submission and          0.30        $199.50
                 follow-up re: same (.3).
          Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17     Page 45 of 60


                                                                      Page 3
                                                                      Invoice No. 774477
                                                                      June 12, 2013
                                                                      L0353-000007


5/8/13    CWD Reviewing docket (.1); e-mail from Committee             0.30        $151.50
               re 5/9 call, reviewing agenda and revised
               Debtors'-Committee's allocation brief (.2).
5/9/13    BPG     Prepare for and participate on Committee call,       2.10      $1,396.50
                  follow-up re: same (1.0); draft joinder, follow-
                  up re: same, review same with C. Dent, deliver
                  to D. Lowenthal (1.1).
5/9/13    CWD Reviewing docket, e-mails re same (.4); e-mails          1.90        $959.50
               re Law Debenture joinder to Debtors'-
               Committee's allocation brief, OC B. Guiney re
               same, reviewing and revising same, e-mails re
               same w/B. Kahn (.9); Committee call, OC D.
               Lowenthal and B. Guiney re same (.6).
5/9/13    DAL Review draft allocation brief and related papers         2.70      $2,322.00
                (1.1); prepare for and participate in Committee
                call (1.0); e-mails with S. Miller re allocation
                brief filing (.2); work on joinder (.4)
5/10/13   BPG     Consider joinder and allocation briefs, OC D.        0.40        $266.00
                  Lowenthal re: same (.2); review docket, claim
                  objections (.2).
5/10/13   CWD E-mails re allocation filing and deadlines,              1.10        $555.50
                reviewing same (.3); reviewing docket (.3);
                revising monthly billing detail, note to
                accounting department re same (.4); reviewing
                revised Debtors'-Committee's allocation motion
                (.1).
5/10/13   DAL     Work on joinder issues, including revising draft     3.20      $2,752.00
                  joinder (1.4); e-mails with Cleary re stipulation
                  requiring parties to file motions by May 18 (.2);
                  send signed page to Cleary (.3); TC
                  bondholders' counsel and follow-up (.3); e-mail
                  draft motion to J. Heaney, S. Miller and E.
                  Larnek (.5); conf. call with case professionals
                  re scheduling (.5).
5/11/13   CWD E-mails re allocation briefs and litigation              0.20        $101.00
                timetables (.2).
5/12/13   CWD E-mails from Committee re emergency motion               0.10         $50.50
                re litigation timetable (.1).
          Case 09-10138-MFW          Doc 17958-3      Filed 02/24/17    Page 46 of 60


                                                                    Page 4
                                                                    Invoice No. 774477
                                                                    June 12, 2013
                                                                    L0353-000007


5/13/13   BPG     Review and revise e-mails and drafts circulated    3.20      $2,128.00
                  over the weekend and early Monday, review
                  emergency motion (1.3); review revised
                  confidentiality agreement and send comments
                  to D. Lowenthal and C. Dent (.9); follow-up D.
                  Lowenthal re: scheduling and open issues (.2);
                  review e-mails re: Wednesday hearing, review
                  J. Gross order (.2); follow-up re: e-mails from
                  holder's counsel (.1); participate on Committee
                  call (.5).
5/13/13   CWD E-mails re allocation briefs, litigation               2.60      $1,313.00
                timetables and Canadian allocation protocol
                appeal, reviewing filed factums re same (.7);
                reviewing docket (.2); revising monthly billing
                statement, e-mail to D. Lowenthal re same (.2);
                follow-up re 5/15 hearing (.1); Committee call,
                OC D. Lowenthal re same (.7); reviewing draft
                objections to NNUK and EMEA claims (.7).
5/13/13   DAL Review motion papers (1.5); Committee call             4.10      $3,526.00
                (.5); review Court notice re status call and
                follow-up with B. Guiney re same (.2); TC with
                holder's counsel and follow-up (1.2); review
                draft claim objections (0.7).
5/14/13   BPG Review draft claim pleadings (EMEA and Joint           2.30      $1,529.50
                Administrators) (1.1); follow-up re:
                confidentiality agreement, TC R. Johnson re:
                same, follow-up D. Lowenthal and C. Dent re:
                same (.3); TC D. Lowenthal re: Debtors'
                request to support litigation timetable (.2);
                review same and follow-up (.2); TC D.
                Lowenthal re: same (.2); review blackline of
                litigation timetable and follow-up re: same (.3).
5/14/13   CWD Reviewing Agenda for 5/15 hearing, reviewing           1.10        $555.50
               docket (.3); e-mails re confidentiality
               agreement revisions, reviewing same (.2);
               revising fee statement, e-mail to D. Lowenthal
               re same (.2); e-mail from Committee and
               Debtors re revised litigation timetable and
               discovery protocol, reviewing same (.4).
          Case 09-10138-MFW          Doc 17958-3        Filed 02/24/17   Page 47 of 60


                                                                     Page 5
                                                                     Invoice No. 774477
                                                                     June 12, 2013
                                                                     L0353-000007


5/14/13   DAL Review UK Pension claim objection (1.0);                3.00      $2,580.00
                review updated confidentiality agreement and
                send comments to B. Guiney and C. Dent (.2);
                work on fee statement (.4); attention to
                timetable issues (.5); TCs and e-mails with L.
                Schweitzer re litigation timetable and discovery
                plan (.9).
5/15/13   BPG Review e-mails from D. Lowenthal re:                    2.70      $1,795.50
                litigation timetable (.1); OC same re: same (.1);
                follow-up CGSH re: changes to same (.2);
                follow-up CGSH re: confidentiality agreement,
                other issues (.2); review CCC and Monitor
                submissions, follow-up re: same (.7); TC D.
                Lowenthal re: same, follow-up same and C.
                Dent re: hearing (.2); monitor Court call and
                follow-up re: same (1.2).
5/15/13   CWD E-mails re allocation filings (.2); reviewing           1.60        $808.00
                docket (.2); monitoring hearing, OC D.
                Lowenthal and B. Guiney re same (1.2).
5/15/13   DAL E-mail L. Schweitzer re Court hearing (.1); e-          2.70      $2,322.00
                mails with J. Heaney re same (.1); finalize fee
                statement and send to J. Heaney (.1); review
                Court papers (1.0); Court hearing (1.4).
5/16/13   BPG     Participate on weekly Committee call and            1.80      $1,197.00
                  follow-up re: same (.3); follow-up re joinder
                  (.2); attention to joinder, multiple e-mails and
                  TCs related to filing and incoming allocation
                  briefs, review ad hoc brief and follow-up re:
                  same (1.3).
5/16/13   CWD E-mails from Committee re Court ruling and              4.50      $2,272.50
                Canadian appeals (.2); reviewing docket and
                allocation briefs, TC D. Lowenthal re same, e-
                mails w/same and B. Guiney, follow-up re
                same (1.8); e-mails re LawDeb allocation
                joinder w/Delaware and Canadian counsel,
                follow-up re same, reviewing same, revising
                same, TCs w/D. Lowenthal and B. Guiney re
                same, coordinating with Delaware and
                Canadian counsel re filing issues (2.5).
          Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17   Page 48 of 60


                                                                   Page 6
                                                                   Invoice No. 774477
                                                                   June 12, 2013
                                                                   L0353-000007


5/16/13   DAL     Work on joinder and related issues, including     3.70      $3,182.00
                  review and revisions to same, TCs with
                  colleagues, e-mails and TC with holder's
                  counsel, e-mails and TC with J. Heaney (3.7).
5/17/13   BPG     Read allocation briefs (1.8); review docket,      2.10      $1,396.50
                  follow-up C. Dent re: amended Agenda (.1);
                  TC D. Lowenthal re: allocation issues (.2).
5/17/13   CWD OC B. Guiney re litigation issues, e-mails w/M.       0.90        $454.50
               Alvarez re paralegal support (.2); reviewing
               docket and Agenda for 5/21 hearing, follow-up
               re same (.2); continue reviewing allocation
               briefs (.5).
5/17/13   DAL     Follow-up re allocation submissions (.9).         0.90        $774.00
5/19/13   CWD E-mail from Committee re allocation response          0.10         $50.50
                outline, reviewing same (.1).
5/20/13   BPG Review outline for reply, review summary of           0.80        $532.00
                allocation pleadings, follow-up C. Dent re:
                same (.7); review docket (.1).
5/20/13   CWD Reviewing docket (.3); reviewing Committee            0.90        $454.50
               summary re allocation briefs, OC B. Guiney re
               same (.2); meeting w/L. Carvalho re allocation
               litigation and paraprofessional support, e-mails
               re same (.4).
5/20/13   DAL Review allocation pleadings (3.2).                    3.20      $2,752.00
5/20/13   LC      Meet with C. Dent to discuss case needs and       1.50        $352.50
                  organization of documents in connection with
                  allocation litigation (1.5).
5/21/13   BPG     Review motion to strike, motion to shorten,       2.50      $1,662.50
                  follow-up C. Dent re: same (.6); work on
                  joinder to replies (.4); review and consider
                  objection to motion to shorten, follow-up re:
                  same, review and revise client update re: same
                  (.5); review Order denying motion to shorten,
                  follow-up re: same (.2); e-mails and TCs re:
                  discovery requests, follow-up re: same, review
                  same (.8).
           Case 09-10138-MFW         Doc 17958-3        Filed 02/24/17   Page 49 of 60


                                                                     Page 7
                                                                     Invoice No. 774477
                                                                     June 12, 2013
                                                                     L0353-000007


5/21/13    CWD Reviewing docket (.4), TC B. Guiney re same,           1.80        $909.00
                e-mails w/same and D. Lowenthal re same,
                drafting e-mails to J. Heaney re same (.7); e-
                mail from Committee re NNUK motions and
                discovery, follow-up re same, TC B. Guiney re
                same, e-mails w/same and M. Fagen re same
                (.7).
5/21/13    DAL Review summary of Core Parties' positions              0.80        $688.00
                 prepared by Committee counsel (.4); e-mails
                 with colleagues and Committee counsel re case
                 developments re UK Pension and discovery
                 (.4).
5/21/13    LC      Organization of documents in connection with       4.10        $963.50
                   allocation litigation as per request of C. Dent
                   (4.1).
5/22/1 3   BPG     Follow-up C. Dent re: discovery, review docket     0.20        $133.00
                   (.2).
5/22/13    CWD Reviewing index for allocation filings, revising       0.80        $404.00
                same (.2); reviewing docket, e-mails w/B.
                Guiney re same (.2); reviewing draft allocation
                document requests and interrogatories, e-mails
                re same (.3); e-mails from Committee re 5/23
                call, reviewing Capstone summary re allocation
                briefs (.1):
5/22/13    DAL Attention to UK Pension motion to shorten              0.60        $516.00
                 notice, joint objection, and Judge Gross's Order
                 denying motion (.6).
5/23/13    BPG     OC D. Dent re: open issues, prepare list of       2.50       $1,662.50
                   items for discussion with D. Lowenthal (.5);
                   review materials for Committee call, begin
                   reviewing discovery materials (.5); participate
                   on Committee call and follow-up re: same
                   (1.0); draft e-mail to D. Lowenthal re: same
                   and follow-up re: same (.5).
5/23/13    CWD E-mail from Committee re discovery requests           2.40       $1,212.00
                 and interrogatories, meeting w/B. Guiney re
                 same, follow-up w/L. Carvaiho re same (.9);
                 reviewing docket (.4); Committee call, revising
                 e-mail to D. Lowenthal re same (1.1).
          Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17    Page 50 of 60


                                                                     Page 8
                                                                     Invoice No. 774477
                                                                     June 12, 2013
                                                                     L0353-000007


5/23/13   DAL Update on allocation and discovery issues with          0.40        $344.00
                B. Guiney and C. Dent following Committee
                call (.4).
5/23/13   LC      Review and organization of documents in             3.40        $799.00
                  connection with initial document requests and
                  interrogatories (3.4).
5/28/13   BPG     Review docket (.1); review draft reply brief and    5.60      $3,724.00
                  follow-up re: same (.9); OC D. Lowenthal re:
                  same and other open issues (1.1); review
                  discovery binder and prepare initial summary
                  of same (3.2); follow-up M. Riela re: same (.1);
                  follow-up re: joinder, deliver template to D.
                  Lowenthal (.2).
5/28/13   CWD E-mails from Committee re allocation position           0.30        $151.50
                responses (.2); e-mails w/D. Lowenthal and B.
                Guiney re allocation document requests and
                interrogatories (.1).
5/28/13   DAL Review draft allocation reply, Court calendar,          5.30      $4,558.00
                outline of key dates and discovery schedule and
                confer with B. Guiney re same (5.3).
5/29/13   BPG     Review revised reply.(.3); TC D. Lowenthal re:      2.90      $1,928.50
                  joinder and follow-up re: same (.3); TC M.
                  Riela re: discovery, follow-up D. Lowenthal re:
                  same, TC R. Johnson re: same, follow-up re:
                  same, e-mail M. Riela re: same (1.0); additional
                  follow-up re: joinder (.1); e-mails and TCs re:
                  joinder, monitor docket re: same, follow-up re:
                  same, coordinate filing and service of same
                  (1.2).
5/29/13   CWD Reviewing docket (.1); e-mails from                     0.40        $202.00
               Committee re allocation responses, begin
               reviewing same, e-mail to L. Carvalho re same
               (.3).
          Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 51 of 60


                                                                      Page 9
                                                                      Invoice No. 774477
                                                                      June 12, 2013
                                                                      L0353-000007


5/29/13   DAL     Work on fee issues (.1); review and revise           2.70      $2,322.00
                  updated allocation brief (.8); conf. B. Guiney re
                  same (.2); e-mails to J. Heaney with draft as
                  well as multiple e-mails with S. Miller and E.
                  Lamek (.9); finalize reply submission and
                  coordinate filing in both Delaware and Canada
                  (.7).
5/30/13   BPG     Review replies to allocation pleadings (1.6);        2.90      $1,928.50
                  participate on weekly Committee call, follow-
                  up re: same (1.2); review docket, follow-up re:
                  discovery per R. Johnson e-mail (.1).
5/30/13   CWD Reviewing docket (.1); e-mails w/J. Heaney re            0.20        $101.00
                consolidated discovery responses (.1).
5/30/13   DAL     Committee call and related follow-up (1.8).           1.80     $1,548.00
5/31/13   BPG     Review docket (.1).                                  0.10         $66.50
5/31/13   CWD E-mails re June 6 meet and confer (.2).                  0.20        $101.00
5/31/13   DAL Review e-mail from Debtors' counsel re                    5.10     $4,386.00
                discovery suggestions and e-mail
                recommendation to J. Heaney (.7); detailed
                review of Core Parties' discovery requests
                (3.0); review allocation reply briefs (1.4).

                                                 Total Services       135.20    $91,977.50


           Daniel A Lowenthal           54.50 hours at $860.00 $46,870.00
           Craig W. Dent                29.30 hours at $505.00 $14,796.50
           Brian P. Guiney              42.40 hours at $665.00 $28,196.00
           Leonardo Carvalho             9.00 hours at $235.00 $2,115.00
Case 09-10138-MFW    Doc 17958-3   Filed 02/24/17     Page 52 of 60


                                                  Page 10
                                                  Invoice No. 774477
                                                  June 12, 2013
                                                  L0353-000007




      Reproduction                                  155.40


                             Total Expenses                    $155.40


                             Total This Invoice              $92,132.90
                Case 09-10138-MFW             Doc 17958-3         Filed 02/24/17       Page 53 of 60




                      Patterson Belknap Webb &lyler LIP
             1133 Avenue of the Americas New York. NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                            Invoice No. 776661
400 Madison Avenue                                                                 July 16, 2013
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                   June 30, 2013 In Connection With The Following:


6/2/13           BPG       Follow-up re: discovery requests, review e-              0.70          $465.50
                           mails re: same, follow-up D. Lowenthal and C.
                           Dent re: same (.6); review R. Johnson e-mail
                           and discovery categories (.1).
6/3/13           BPG       Work on discovery responses (1.9); TC D.                 3.90        $2,593.50
                           Lowenthal re: open issues, OC C. Dent re:
                           discovery issues, follow-up re: same (.8); OC
                           D. Lowenthal and C. Dent re: discovery
                           responses, follow-up re: same (1.0); finalize
                           EMEA responses and follow-up (.2)
6/3/13           CWD Reviewing docket (.3); OC D. Lowenthal re                      6.10        $3,080.50
                      allocation litigation meeting and related issues
                      (.4); OC B. Guiney re same (.3); reviewing
                      litigation index (.2); meeting w/D. Lowenthal
                      and B. Guiney allocation litigation and related
                      issues, follow-up re same, reviewing e-mails to
                      allocation group re same, reviewing
                      consolidated discovery requests list re same
                      (2.8); e-mails w/Cleary re Merrill database and
                      allocation meet and confer (.2); reviewing draft
                      response to allocation document requests, e-
                      mails w/B. Guiney re same (1.9).
6/3/13           DAL       Review status with C. Dent (.1); work on                 1.80        $1,548.00
                           discovery responses with B. Guiney and C.
                           Dent (1.0); review draft discovery responses
                           and e-mails re consolidated proposals (.7).




6341243v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17   Page 54 of 60


                                                                       Page 2
                                                                       Invoice No. 776661
                                                                       July 16, 2013
                                                                       L0353-000007


6/4/13       BPG     Review consolidated discovery requests,            3.10      $2,061.50
                     review revisions to same (1.2); multiple TCs
                     and OCs with C. Dent to consider same (.4);
                     review additional revisions to consolidated
                     requests, review reservation of rights, follow-
                     up re: same (.9); review UK response, review
                     Michigan 9019 motion, review additional e-
                     mails re: discovery (.6).
6/4/13       CWD Reviewing docket (.4); e-mails re allocation           2.30      $1,161.50
                  meet and confer and Merrill access (.5); OC B.
                  Guiney and D. Lowenthal re same and
                  discovery responses (.4); OC L. Carvalho re
                  document index and production requests (.3);
                  begin reviewing mark-ups of consolidated
                  discovery requests (.7).
6/4/13       DAL Confer with B. Guiney and C. Dent re meet and         0.60         $516.00
                   confer (.1); review UK pension parties'
                   opposition to sanctions pleading (.5).
6/4/13       LC      Review and organization of allocation             3.90         $916.50
                     discovery documents as per request and
                     instructions of C. Dent and update litigation
                     calendar (3.9).
6/5/13       BPG Review open discovery requests, OC C. Dent            3.60       $2,394.00
                   re: same, follow-up D. Lowenthal and M. Riela
                   re: same, attention to reservation of rights and
                   follow-up re: same (2.0); TC M. Riela and C.
                   Dent re: open discovery issues, follow-up C.
                   Dent re: same (.5); prepare for and OC with D.
                   Lowenthal and C. Dent re: same (.8); review
                   additional e-mails re: same, review motion for
                   protective order (Canada) (.3).
6/5/13       CWD Reviewing docket (.2); meeting w/B. Guiney re         4.30       $2,171.50
                  allocation discovery request responses and
                  related issues, TC D. Lowenthal re same,
                  reviewing e-mails and follow-up re same (2.3);
                  call w/M. Riela re allocation meet and confer,
                  OC B. Guiney re same (.8); meeting w/D.
                  Lowenthal and B. Guiney re allocation
                  document production (1.0).




6341243v.3
             Case 09-10138-MFW         Doc 17958-3       Filed 02/24/17     Page 55 of 60


                                                                        Page 3
                                                                        Invoice No. 776661
                                                                        July 16, 2013
                                                                        L0353-000007


6/5/13       DAL Work on discovery issues (.4); prepare for meet         2.50      $2,150.00
                  and confer (1.8); review and revise discovery
                  requests (.3).
6/6/13       BPG     Review updates from C. Dent (.1); review draft      1.00        $665.00
                     reply to UK pension parties, follow-up re: same
                     (.4); additional follow-up re: same and re: meet
                     and confer (.5).
6/6/13       CWD Prepare for, travel to and from, and participate       15.50      $7,827.50
                   in allocation meet and confer, e-mails
                   w/colleagues re same (15.5).
6/6/13       DAL Multiple e-mails re meet and confer in Toronto          3.30      $2,838.00
                  including substantive documents re same (.5);
                  review draft and final version of Debtors' and
                  Committee's reply to UK pension parties'
                  sanctions motion (2.1); e-mails and TCs with
                  B. Guiney and C. Dent re same (.3); e-mails
                  with J. Heaney re same (.3); leave detailed
                  message for D. Botter (.1).
6/7/13       BPG     Review e-mails re: discovery materials, review      1.40        $931.00
                     revised discovery requests, TC C. Dent re:
                     same (.9); participate on weekly Committee
                     call (.5).
6/7/13       CWD Reviewing docket (.2); e-mails re allocation           3.80       $1,919.00
                  document requests, OC D. Lowenthal re same
                  and meet and confer (.8); call re allocation meet
                  and confer and follow-up items (for part), e-
                  mails re same (1.7); TC B. Guiney re meet and
                  confer and Committee call, TC D. Lowenthal re
                  same (.2); Committee call, OC D. Lowenthal re
                  same (.9).
6/7/13       DAL Work on discovery issues and e-mail J. Heaney          3.10       $2,666.00
                  re same (1.5); Committee call and follow up
                  (1.6).
6/7/13       LC      Review of documents and update of allocation       2.60         $611.00
                     document index as requested by C. Dent (2.6).
6/8/13       CWD E-mails re consolidated document requests,             0.20         $101.00
                   reviewing EMEA mark-up re same (.2).




6341243v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17      Page 56 of 60


                                                                         Page 4
                                                                         Invoice No. 776661
                                                                         July 16, 2013
                                                                         L0353-000007


6/9/13       CWD E-mails re consolidated requests, reviewing              0.80        $404.00
                   revised drafts and comments re same, e-mails
                   w/D. Lowenthal and B. Guiney re same (.8).
6/9/13       DAL Work on discovery scheduling, including                  0.70        $602.00
                  multiple e-mails with counsel for Core Parties
                  (.7).
6/10/13      BPG     TC C. Dent, follow-up re: discovery requests         0.60        $399.00
                     (.6).
6/10/13      CWD OC D. Lowenthal re allocation discovery, e-              4.90      $2,474.50
                  mails re same; participating in group call re
                  consolidated requests, reviewing revised drafts
                  of reservation of rights and consolidated
                  requests (2.0); call w/CCCs and bondholders re
                  remaining discovery issues, OC D. Lowenthal
                  re same (1.1); TC B. Guiney re discovery
                  issues (.5); follow-up call re CCCs' discovery
                  issues (1.3).
6/10/13      DAL     Work on discovery issues, including detailed         5.90       $5,074.00
                     review of issues lists, parked issues, comments
                     provided by multiple parties, issues specific to
                     bondholders and Indenture Trustees (3.7); TC
                     S. Miller re status of discovery (.3); review
                     draft brief re motion to strike (.5); e-mail J.
                     Heaney re same (.2); prepare for and participate
                     in conf. call with counsel for other Core Parties
                     re Indenture Trustee and bondholders'
                     discovery issues (1.2).
6/11/13      BPG     Review materials from C. Dent re: discovery,         2.00       $1,330.00
                     review e-mail from M. Riela with attachment,
                     follow-up re: same (1.5); review objection to
                     motion to strike, review e-mail from'F. Hodara
                     re: same (.5).




6341243v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17   Page 57 of 60


                                                                       Page 5
                                                                       Invoice No. 776661
                                                                       July 16, 2013
                                                                       L0353-000007


6/11/13      CWD E-mails re consolidated requests and indenture         7.00      $3,535.00
                   trustee issues, reviewing same, revised
                   consolidated requests and BNY comments, OC
                   D. Lowenthal re same (.7); monitoring omnibus
                   hearing (for part) (1.7); revising monthly fee
                   statement, note to accounting department re
                   same (.3); follow-up group call re consolidated
                   requests, OC D. Lowenthal re same (1.9);
                   additional follow-up group call re consolidated
                   requests (2.1).
6/11/13      DAL     Work on issues list and discovery details (.6);    4.90      $4,214.00
                     Court hearing (2.4); group call re discovery
                     lists and follow-up with B. Guiney (1.9).
6/11/13      LC      Review of documents and update of allocation       2.50        $587.50
                     document index as requested by C. Dent (2.5).
6/12/13      BPG     Review docket (.3); review revised discovery       0.60        $399.00
                     document, review e-mails related to discovery
                     issues (.3).
6/12/13      CWD Reviewing docket (2); e-mails re consolidated         6.80       $3,434.00
                  requests, reviewing mark-ups of same;
                  participating in call re allocation discovery
                  procedural issues (.8), TC D.Lowenthal re
                  same, e-mails w/same and M. Riela re same
                  (.4); participating in call re consolidated
                  requests and Core Parties' mark-ups (.5);
                  reviewing monthly fee statement, e-mails w/D.
                  Lowenthal re same, TC accounting department
                  re same (.3); call w/M. Riela re revised
                  consolidated requests, call w/D. Crichlow re
                  same, call w/D. Stein re same, OC D.
                  Lowenthal re same (.8); group call re
                  consolidated requests, OC D. Lowenthal re
                  same (3.8).




6341243v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17     Page 58 of 60


                                                                     Page 6
                                                                     Invoice No. 776661
                                                                     July 16, 2013
                                                                     L0353-000007


6/12/13      DAL Work on discovery issues including multiple          4.50        $3,870.00
                  TCs and e-mails with counsel for the Core
                  Parties on proposed agreed upon document
                  requests and interrogatories (3.1); TC C. Dent
                  re same (.1); e-mail S. Miller re same (.1); e-
                  mail J. Heaney re same (.5); e-mails with
                  Indenture Trustees re updated document list
                  (.7).
6/13/13      CWD E-mails re allocation discovery and revised          0.20         $101.00
                   consolidated requests (.2).
6/13/13      DAL Review Third Circuit Orders re appeals (.3);         3.90        $3,354.00
                   discovery status update to J. Heaney (.4);
                   Committee call and follow-up (1.0); e-mail
                   colleagues re same (.3); e-mails with S. Miller
                   (.2); attention to consolidated discovery
                   requests (1.7).
6/14/13      CWD E-mails re allocation discovery and revised          0.20          $101.00
                   consolidated requests (.2).
6/14/13      DAL Review updated discovery requests, including         4.90        $4,214.00
                   multiple e-mails and TCs with counsel for other
                   Core Parties and J. Heaney re final version of
                   the requests (3.8); work on fee statement (.5);
                   review updated comments re consolidated
                   discovery requests (.6).
6/17/13      BPG     Review docket, review filed and served           1.80        $1,197.00
                     pleadings; attention to discovery-related e-
                     mails (.9); OC C. Dent re: discovery, review
                     final discovery chart and follow-up re: same
                     (.8); review MOR (.1).
6/17/13      CWD Reviewing final consolidated requests, OC B.         1.10         $555.50
                  Guiney re same (.5); reviewing docket (.2);
                  follow-up re monthly fee statement, e-mails
                  w/accounting department re same (.1); revising
                  allocation litigation calendar (.3).
6/17/13      DAL Work on discovery responses (.5).                    0.50         $430.00




6341243v.3
              Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17    Page 59 of 60


                                                                          Page 7
                                                                          Invoice No. 776661
                                                                          July 16, 2013
                                                                          L0353-000007


6/18/13       BPG     Review revised consolidated discovery                1.10        $731.50
                      requests, follow-up re: same (.4); review
                      litigation calendar and follow-up (.1); review
                      docket (.1); follow-up re: interrogatory
                      responses, review calendar (including OC w/C.
                      Dent, for part), e-mail D. Lowenthal re: same
                      (.5).
6/18/13       CWD Reviewing revised consolidated requests, e-              2.40      $1,212.00
                   mails re same w/D. Lowenthal and B. Guiney
                   (.6); revising allocation calendar, OC B.
                   Guiney re same (.3); reviewing docket (.4);
                   begin drafting case update for client (1.1).
6/18/13       DAL     E-mails re Committee call (.2); review fee           0.50        $430.00
                      statement (.3).
6/19/13       BPG     Consider discovery issues, OC C. Dent and D.         2.40      $1,596.00
                      Lowenthal re: same (.7); work on interrogatory
                      responses, follow-up re: same (1.7).
6/19/13       DAL Finalize and send fee statement to J. Heaney             2.70      $2,322.00
                    (.1); work on discovery responses (1.2); e-mails
                    with J. Heaney re same (.3); Committee
                    counsel e-mail (.9); e-mails with colleagues re
                    discovery (.2).
6/20/13       BPG     Follow-up re: consolidated discovery requests        2.40      $1,596.00
                      (.2); additional follow-up C. Dent re: same,
                      review revised requests and follow-up (.4);
                      revise interrogatories and add verification (.2);
                      participate on call re: discovery and follow-up
                      re: same (1.1); review materials related to
                      Canada appeal, e-mail from M. Wunder, and
                      follow-up (.3); review e-mail to J. Heaney,
                      follow-up re: next steps on discovery (.2).
6/20/13       CWD Reviewing docket (.2); reviewing draft                   3.90      $1,969.50
                   interrogatories (.3); e-mails re consolidated
                   discovery requests, reviewing same (.4);
                   Committee call (.7); call w/Akin and BNY
                   Mellon re document production, OC D.
                   Lowenthal and B. Guiney re same, e-mails re
                   same w/same and practice support (.9);
                   finalizing case update, e-mails re same w/D.
                   Lowenthal and B. Guiney (1.4).



6341243 v.3
             Case 09-10138-MFW          Doc 17958-3       Filed 02/24/17    Page 60 of 60


                                                                        Page 8
                                                                        Invoice No. 776661
                                                                        July 16, 2013
                                                                        L0353-000007


6/20/13      DAL Committee call and follow-up call with Akin             3.30      $2,838.00
                   and BNY Mellon's counsel re discovery (1.7);
                   review Indenture Trustee discovery requests
                   and related deadlines, and draft and send memo
                   to J. Heaney re discovery (1.6).
6/21/13      BPG     Review quarterly Law Debenture update, revise       1.60      $1,064.00
                     same, follow-up re: same (.3); OC C. Dent and
                     R. Rennagel re: discovery (.6); additional
                     follow-up re: same, OC D. Lowenthal re: same,
                     consider same with C. Dent (for part) (.5);
                     additional follow-up re: same (.2).
6/21/13      CWD E-mails re case update (.2); reviewing                            $1,212.00
                   discovery plan, meeting w/R. Rennagel and B.
                   Guiney re discovery issues, e-mails w/same and
                   J. Heaney re same, follow-up re same (1.8);
                   reviewing docket and Agenda for 6/25 hearing,
                   follow-up re same (.2); reviewing docket (.2).
6/21/13      DAL Work on discovery (.2); review and revise               2.20      $1,892.00
                  client update (1.9); review hearing Agenda (.1).
6/24/13      BPG     Review docket (.1); prepare for and participate     5.70      $3,790.50
                     in discovery meeting (.9); follow-up C. Dent re:
                     same, follow-up D. Lowenthal re: same,
                     investigate UK privacy issues and follow-up
                     (1.3); TC A. Croke and C. Dent re: same,
                     follow-up re: same (.4); review materials from
                     A. Croke, follow-up re: same (.9); additional
                     follow-up and research re: same, OC C. Dent
                     and D. Lowenthal re same and e-mails re same
                     (2.1).
6/24/13      CWD OC B. Guiney discovery issues, call w/same              3.60      $1,818.00
                  and J. Heaney re same, TC D. Lowenthal re
                  same (1.6); call w/Akin and Ashurst re same
                  (.3); e-mails re client update, reviewing revised
                  version of same (.3); e-mails w/Ashurst re UK
                  discovery issues, follow-up re same, TC B.
                  Guiney re same, follow-up research re same,
                  OC D. Lowenthal re same (1.4).
6/24/13      DAL     Draft and complete client memo (2.8).              2.80       $2,408.00




6341243v.3
